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                           EXHIBIT A

   Plaintiffs’ First Set of Requests for Production of
Documents to All Defendants, dated September 19, 2022
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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION



FRANK CARBONE, ANDREW CORZO,
SAVANNAH ROSE EKLUND, SIA HENRY,
ALEXANDER LEO, MICHAEL MAERLENDER,
BRANDON PIYEVSKY, KARA SAFFRIN, and
BRITTANY TATIANA WEAVER, individually and on      Case No.: 1:22-cv-00125-MEK
behalf of all others similarly situated,

                        Plaintiffs,               PLAINTIFFS’ FIRST SET OF
                                                  REQUESTS FOR
                         v.                       PRODUCTION OF
                                                  DOCUMENTS TO
BROWN UNIVERSITY, CALIFORNIA INSTITUTE            ALL DEFENDANTS
OF TECHNOLOGY, UNIVERSITY OF CHICAGO,
THE TRUSTEES OF COLUMBIA UNIVERSITY IN
THE CITY OF NEW YORK, CORNELL
UNIVERSITY, TRUSTEES OF DARTMOUTH
COLLEGE, DUKE UNIVERSITY, EMORY
UNIVERSITY, GEORGETOWN UNIVERSITY, THE
JOHNS HOPKINS UNIVERSITY, MASSACHUSETTS
INSTITUTE OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME DU
LAC, THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY, and
YALE UNIVERSITY,

                         Defendants.




PROPOUNDING PARTY:      PLAINTIFFS

RESPONDING PARTY:       ALL DEFENDANTS

SET NUMBER:             ONE (1)


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       Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiffs, individually and

on behalf of all others similarly situated, request that Defendants Brown University (“Brown”),

California Institute of Technology (“CalTech”), University of Chicago (“Chicago”), The

Trustees of Columbia University in the City of New York (“Columbia”), Cornell University

(“Cornell”), Trustees of Dartmouth College (“Dartmouth”), Duke University (“Duke”), Emory

University (“Emory”), The Johns Hopkins University (“Johns Hopkins”), Georgetown

University (“Georgetown”), Massachusetts Institute of Technology (“MIT”), Northwestern

University (“Northwestern”), University of Notre Dame du Lac (“Notre Dame”), The Trustees of

the University of Pennsylvania (“Penn”), William Marsh Rice University (“Rice”), Vanderbilt

University (“Vanderbilt”), and Yale University (“Yale”) (collectively, “Defendants,” and as

these Requests are directed to each such Defendant, “You” or “Your”) produce the Documents

and things described below for inspection and copying at 99 Park Avenue, Suite 1910, New

York, New York 10016, within thirty (30) days of service of these discovery requests, or at some

mutually-agreeable date, location, and time, where facilities are available for inspection and

copying, in accordance with the Definitions and Instructions below. These Requests are

continuing in nature. Responsive information discovered subsequent to service of Your

responses hereto shall be disclosed through supplemental responses within thirty (30) days of

discovery of the information, pursuant to Rule 26(e) of the Federal Rules.

                                       I. DEFINITIONS

       1.      The definitions and rules of construction set forth in Rule 34 of the Federal Rules

of Civil Procedure are hereby incorporated and apply to the Requests for Production herein.

       2.      “568 Exemption” means the antitrust exemption in Section 568 of the Improving

America’s Schools Act of 1994.



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       3.     “568 Group” means the 568 Presidents Group.

       4.     “568 Group Member” means any institution of higher education that is now or

formerly a member of the 568 Group during the Relevant Time Period, including but not limited

to all Defendants, and (1) Amherst College, (2) Boston College, (3) Claremont McKenna College,

(4) College of the Holy Cross, (5) Davidson College, (6) Grinnell College, (7) Haverford College

(8) Middlebury College, (9) Pomona College, (10) St. John’s College, (11) Swarthmore College,

(12) Wellesley College, and (13) Williams College.

       5.     “Academic Year” means the annual period of sessions of Your institution.

       6.     The “Action” means the above-captioned action.

       7.     “Admissions” means the processes or facts of being admitted to or rejected for

admission as a Student by a Defendant university.

       8.     “Admissions Office” means the office, department, or division that is primarily

responsible for handling Admission to Your full-time undergraduate program, including but not

limited to freshmen Admissions and transfer Admissions.

       9.     “Applicant” means any person who has submitted an application by any means to

Your full-time undergraduate program, whether as a first-year Applicant or a Transfer Applicant.

       10.    “Admitted Applicant” means any Applicant accepted during any application period

(e.g., Early Decision, Early Action, Regular Decision, or off the Waitlist) to your full-time

undergraduate program, including as a Transfer Student.

       11.    “Alumni Relations Offices” means all of Your offices, departments, or divisions

that handle alumni relations, including any offices, departments, or divisions that handle both

alumni relations and Development functions.

       12.    “And” and “Or” are terms of inclusion and not exclusion and are to be construed to



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bring within the scope of these requests any Documents or responses that might otherwise be

considered outside their scope.

       13.     “Any” should be construed to mean “any and all.”

       14.     “Certification of Compliance” means any Document intended for use or used by

the 568 Group to ensure that any current or prospective 568 Group Members complied with the

568 Exemption. This includes but is not limited to the form on the 568 Group website called

“Certification of Compliance with Section 568” or something similar.

       15.     “COFHE” means the Consortium on Financing Higher Education.

       16.     “Complaint” means the Amended Class Action Complaint (ECF No. 106) in this

Action, or any subsequent operative complaint in this Action.

       17.     “Concerning” means relating to, pertaining to, referring to, reflecting, referencing,

constituting, supporting, contradicting, summarizing, demonstrating, containing, studying,

analyzing, considering, explaining, mentioning, identifying, including, showing, discussing,

describing, commenting upon, resulting from, prepared for, or used in connection with.

       18.     “Consensus Methodology,” “Consensus Approach Methodology,” or “CM” has the

meaning given to that term by the 568 Group and as used on the 568 Group website.

       19.     “Consultant” means any natural person, entity, business, or non-profit organization

retained to provide consultation on any issue, including but not limited to Admissions, Financial

Aid, and Enrollment Management.

       20.     “Cost of Attendance” means the total annual cost for a Student to attend Your full-

time undergraduate program. This includes, but is not limited to, Tuition, fees, cost of Room and

Board (or living expenses), cost of books, supplies, transportation, loan fees, and miscellaneous

expenses (including a reasonable amount for the documented cost of a personal computer,



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allowance for childcare or other dependent care, costs Concerning a disability, and reasonable

costs for eligible study-abroad programs).

       21.     “CSS Profile” is the College Scholarship Service online application used by

colleges and scholarship programs to award certain Financial Aid and is administered by the

College Board.

       22.     “Dean’s Interest List” is any list or compilation of Applicants the Admissions

Office uses to identify Applicants who are connected to existing Donors, potential Donors,

celebrities, and other public figures.

       23.     “Defendants” means parties named as defendants in this Action.

       24.     “Development”       means     activities   and   services   Concerning   fundraising,

philanthropy, Donor cultivation, and alumni relations.

       25.     “Development Office” means all of Your offices, departments, or divisions that

handle Development.

       26.     “Discount” means any reduction in the standard Tuition or Cost of Attendance.

       27.     “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any

words, letters, numbers, symbols, pictures, graphics, or any other forms of information are written,

typed, printed, inscribed, or otherwise visibly show, and also every other form of stored or recorded

information, whether on film, tape disks, cards, computer memories, or any other medium or

device whereby stored information can, by any means whatsoever, be printed or otherwise

recovered, generated or displayed in the form of visible, audible, or otherwise perceptible words,



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letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit) the breadth of this

definition, “Document” in this sense includes papers or objects bearing handwritten notes,

materials written in Braille, contracts, letters, bills, telegrams, notes, e-mails, text messages, instant

messages, voicemail messages, books, desk calendars, electronic calendars, memoranda,

envelopes, drafts or partial copies of anything, signs, photographic negatives and prints, video and

audio recordings of all kind, and the contents of storage media used in data processing systems.

“Document” also includes any communications, without limitation, that reflect exchanges of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including any

advice, advisement, announcement, articulation, assertion, contact, conversations, written or

electronic correspondence, declaration, discussion, dissemination, elucidation, expression,

interchange, memoranda, notes, publication, reception, revelation, talk, transfer, transmission, or

utterance. The phrase “communication between” is defined to include instances where one party

addresses the other party but the other party does not necessarily respond. Each and every draft of

a Document is a separate Document for purposes of these Document requests.

        28.     “Donation” includes but is not limited to restricted or unrestricted cash gifts, non-

cash gifts, matching gifts, gifts of stock, bonds, securities, or business interests, bequests, gifts of

real property, gifts of personal property, gifts of retirement plans, gifts of life insurance, gifts of

copyrights, gifts of royalties, gifts of patents, assignments of contractual income rights, gifts of oil

and gas interests, one-time gifts, recurring gifts, planned gifts, life income gifts, or in-kind

donations. Donation also includes any gifts resulting in an “endowed chair” or similar honorific.

        29.     “Donor” means any person who has made, makes, or communicates an oral or

written intention to make a Donation to You.

        30.     “Early Action” refers to any non-binding first-year Admissions program with a



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deadline before that of Regular Decision that does not require an Admitted Applicant to attend that

school. This includes, but is not limited to, unrestricted early action, single choice early action,

restrictive early action, and rolling Admissions.

       31.     “Early Admissions Program” means any application process with a deadline prior

to that of Regular Decision, including but not limited to, Early Action and Early Decision.

       32.     “Early Decision” means a binding application process with a deadline prior to that

of Regular Decision that restricts the other schools to which an Applicant may apply and requires

an Admitted Applicant to matriculate.

       33.     “Electronic Format” means a data storage format that includes delimited text files

(e.g., pipe-limited or tab delimited files) or fixed-field text data, common forms in which data are

imported into or exported from database management systems. For purposes of this Request,

delimited text files shall refer to only pipe-delimited or tab-delimited formats. Comma-delimited

formats shall be excluded so as to avoid any confusion between delimiters and characters that may

occur naturally within a data field.

       34.     “Enforcement Mechanism” means any process for taking action and/or any action

taken in response to suspected or actual knowledge that a 568 Group Member was not complying

with any rule, guidance, standard, or requirement of membership for the 568 Group, including but

not limited to compliance with the 568 Exemption.

       35.     “Enrollment Management” encompasses all practices, policies, strategies,

Enrollment Management Software, and tactics used to shape the enrollment of an undergraduate

class and meet established goals, including but not limited to the use of marketing, Admission

policies, retention, and Financial Aid to achieve revenue and budget goals.

       36.     “Enrollment Management Software” means any computer program, algorithm, or



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application used by Your institution for Enrollment Management.

        37.     “Expected Family Contribution” or “EFC” means any computations by any of Your

Internal Financial Aid Formula(e), the Consensus Methodology, the Institutional Methodology, or

the Federal Methodology that represents a financial computation, estimate, or determination of

Applicants’, Students’, or their families’ ability to pay the Cost of Attendance.

        38.     “Federal Methodology” or “FM” means the standardized method used by the U.S.

Department of Education for determining, estimating, or computing Applicants’ and their families’

ability to pay for postsecondary education expenses. The Federal Methodology is used to

determine, estimate, or compute eligibility for Pell Grants, Federal Supplemental Educational

Opportunity Grants (FSEOGs), Federal Work-Study programs, and federal loan programs.

        39.     “Federal Supplemental Education Opportunity Grant” or “FSEOG” means Gift Aid

provided by the federal government to Students with exceptional financial need and only at

participating institutions.

        40.     “Federal Work-Study” means the federal program that subsidizes the salaries for

part-time jobs for undergraduate and graduate students with financial need, allowing them to earn

money to pay education expenses.

        41.     “Financial Aid” means any Discounts, grants, Loans, work-study programs, or

scholarships available to assist Students in paying for higher education and which are offered on

the basis of estimates, determinations, or computations of Students’ financial need.

        42.     “Financial Aid Applicant” means any Applicant or Student who has submitted a

Financial Aid Application.

        43.     “Financial Aid Application” means all the Documents required by or considered by

You in awarding Need-Based Financial Aid, including Gift Aid. This includes but is not limited



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to the FAFSA, the CSS Profile, and any supplemental forms You require from Applicants seeking

any financial assistance, including Financial Aid, Loans, or Federal Work-Study.

       44.     “Financial Aid Formula” or “Financial Aid Formulae” means formula(e) used to

determine, compute, or estimate an Applicant’s, Student’s, parent’s, or family’s ability to pay the

Cost of Attendance. This may or may not include elements of or be coextensive with the Federal

Methodology, Institutional Methodology, or Consensus Methodology.

       45.     “Financial Aid Package” means the types of (e.g., Discounts, grants, Loans, work-

study) and total amount of Financial Aid (both federal and nonfederal) an Admitted Applicant or

Student is offered by a college or university for a given Academic Year.

       46.     “Financial Circumstances” means the financial resources or financial status of

Applicants or that of their families. Resources or status may be reflected by current or past

occupations, income, net worth, assets, investments, businesses, Donation history, fundraising

history, zip codes, homes (including images of homes), educational history, expressed intention to

apply for Financial Aid, or other financial background indicators.

       47.     “Free Application for Federal Student Aid” or “FAFSA” is the application form for

all federal Financial Aid.

       48.     “Gift Aid” means all need-based grants, scholarships, or other gift assistance from

You or a federal or state government entity that do not need to be earned or repaid by Students or

their families. Financial Aid excludes Loans, self-help, work-study, or similar forms of assistance

that require work or repayment.

       49.     “Input” means any piece of information or data used to determine an Applicant’s

financial need, eligibility for any need-based assistance programs, or Expected Family

Contribution   under the Consensus        Methodology,     Federal   Methodology,     Institutional



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Methodology, or Your Internal Financial Aid Formula(e). This includes but is not limited to all

information contained in an Applicant’s FAFSA, Student Aid Report (“SAR”), CSS Profile, or

any other supplemental Financial Aid Application forms.

         50.   “Institutional Methodology” or “IM” means the formula(e) developed and

maintained by the College Board that determines, computes, estimates, or quantifies a family’s

ability to pay for higher education based on data included in an Applicant’s CSS Profile

application. This/these formula(e) may be customizable or adjustable.

         51.   “Internal Financial Aid Formula(e)” means the Financial Aid Formula(e) You use

to determine, estimate, compute, or quantify an Admitted Applicant’s ability to pay the Cost of

Attendance. This may or may not include elements of or be coextensive with the Federal

Methodology, Institutional Methodology, or Consensus Methodology.

         52.   “Landscape” means the tool created by the College Board designed to help

institutions understand the high schools attended by Applicants and prospective Applicants and

the neighborhoods in which they reside.

         53.   “Loans” mean any money lent to Students or their families by You, the federal

government, a state government, a bank, or another financial institution. These include but are not

limited to, Direct Subsidized Loans, Direct Unsubsidized Loans, Perkins Loans, and Parent PLUS

Loans.

         54.   “Merit Aid” means all scholarships and grants awarded on the basis of anything

other than an Applicant or Student’s financial need or circumstances. Merit Aid includes but is not

limited to awards based on academic, athletic, and artistic talent.

         55.   “Need-Aware” means an Admissions process that may consider Applicants’ and

their families’ Financial Circumstances in the decision of whether to admit them.



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       56.     “Need Analysis Council” means a committee or council of the 568 Group that

reviews the activities of the 568 Group over the previous Admissions cycle and plans for the future.

       57.     “Net Price” means the total annual cost paid by Students at an undergraduate

educational institution after subtracting any Gift Aid and Merit Aid.

       58.     “Office of Institutional Research” means any branch, division, department, or

office of Your institution primarily responsible for collecting and analyzing information about

Your institution that is disseminated to the public and/or supports data-driven decision-making by

Your institution.

       59.     “Output” means resulting calculation from Inputs, including but not limited to the

Applicant’s ability to pay or any EFC calculation.

       60.     “Overlap Agreement” means the standards of conduct agreement reached in MIT’s

settlement with the United States in United States v. Brown, 5 F.3d 658 (3d Cir. 1993).

       61.     “Parent Leadership Council” means any officially recognized group of parents of

Students and parents of alumni of Your institution for whom a minimum Donation is expected or

required for membership. Such examples include but are not limited to Brown’s Parent Leadership

Council, Caltech’s Parents Fund, University of Chicago’s Dean’s Parent and Family Council,

Columbia’s Parent Leadership Council, Cornell’s Parents Committee, Dartmouth’s Family

Fellows Society, Emory’s Parent Leadership Board, Georgetown’s Parents Leadership Council,

Johns Hopkins’s Parents Leadership Circle, Northwestern’s Family Advisory Council, Penn’s

Parents Council, Rice’s Parents Leadership Council, Vanderbilt’s Parents Leadership Committee,

and Yale’s Parents Leadership Council.

       62.     “Peer Institution” is any institution of higher education You consider or have ever

designated internally or externally as a similar and/or competing institution or otherwise



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reasonably comparable to Your institution.

          63.   “Pell Grant” means federal Gift Aid awarded only to undergraduate students who

display exceptional financial need and have not earned a bachelor’s, graduate, or professional

degree.

          64.   “President” means the president or other chief executive officer of Your institution

at any point during the Relevant Time Period.

          65.   “Regular Decision” means the normal process by which Applicants apply for

Admissions by the standard institutional deadline and without any commitment to attend the

institution to which the Applicant applied if admitted.

          66.   “Restricted Donation” means a Donation to Your institution in which the Donor

restricts the use to a particular purpose.

          67.   “Room and Board” means the official cost of living either on or off campus and

feeding oneself either independently or through a meal plan for the duration of the Academic Year

for an undergraduate Student at Your institution. For instance, the annual dormitory charge plus

the cost of the annual dining plan would constitute Room and Board, as would the combination of

the allowance for off-campus housing and dining.

          68.   “Steering Committee” means a committee of the 568 Group charged with

overseeing the ongoing work of the 568 Group.

          69.   “Student” means an individual enrolled in your full-time undergraduate program

for any semester or portion of any semester during the Relevant Time Period.

          70.   “Student Aid Report” or “SAR” means the report generated after an Applicant

submits the FAFSA that summarizes the information reported and includes the federal EFC and

estimated eligibility for federal student loan programs and Pell Grants.



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       71.     “Tag” means any label, flag, notation, or other indicia associated with an

Applicant’s application that is designed to communicate special consideration or preferential

treatment in the Admissions process.

       72.     “Technical Committee” or “Technical Advisory Committee” means a committee

or subdivision of the 568 Group that makes specific recommendations Concerning changes and

updates in the Consensus Methodology.

       73.     “Transfer Applicant” means any person applying to Your institution through Your

transfer Admissions process, as defined by You. An “Admitted Transfer Applicant” is a Transfer

Applicant that You have admitted.

       74.     “Tuition” means the instructional fee charged to full-time undergraduate Students.

To the extent You permit undergraduates to enroll on a part-time basis, Tuition means the

instructional fee per course or credit hour.

       75.     “Unrestricted Donation” means a Donation to Your institution in which the Donor

does not restrict the use to a particular purpose.

       76.     “You” and “Your” means each Defendant to whom this set of Requests for

Production is addressed, including all divisions, departments, wholly owned or controlled

subsidiaries or affiliates, other subsidiaries, parents, joint ventures, branches, predecessors in

interest, successors in interest, current and former employees, agents, attorneys, representatives,

and all other persons acting on behalf of, or at the direction of, any such entity.

       77.     “Waitlist” means a list of Applicants who have neither been rejected nor accepted

during Your institution’s regular Admissions cycle (typically ending on or around April 1 of each

year) and may be re-considered for Admission. The term “Waitlisted” refers to Applicants on such

a Waitlist. An “Admitted Waitlist Applicant” is any Applicant You admitted off the Waitlist.



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       78.     “Z List” means a list or compilation of Applicants admitted to Your institution who

are required to defer attendance for a year or semester as a condition of their Admission.

                                      II. INSTRUCTIONS

       1.      In addition to the requirements set forth in the Federal Rules of Civil Procedure,

the following instructions apply to each of the requests set forth herein and are deemed to be

incorporated in each of them.

       2.      In responding to these requests, all Documents shall be produced in accordance

with Rules 26 and 34 of the Federal Rules of Civil Procedure.

       3.      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, You are

required to produce Documents in Your possession, custody, or control, regardless of whether

such Documents or materials are possessed directly by You or Your officers, directors,

employees, partners, corporate parent, subsidiaries or affiliates. A Document shall be deemed to

be within Your control if You have the right to secure the Document or a copy of the Document

from another person having possession or custody of the Document.

       4.      The terms defined above and the individual requests below should be construed

broadly to the fullest extent of their meaning in a good-faith effort to comply with Rules 26 and

34 of the Federal Rules of Civil Procedure.

       5.      Unless words or terms have been given a specific definition herein, each word or

term used herein shall be given its usual and customary dictionary definition, except where such

words have a usual custom and usage definition in Your trade or industry, in which case they

shall be interpreted in accordance with such usual custom and usage definition of which You

are aware.

       6.      For purposes of reading, interpreting, or construing the scope of these requests,



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the terms used shall be given their most expansive and inclusive interpretation.

      7.      In order to bring within the scope these Requests for Production, all information

that might otherwise be construed to be outside of their scope, the following rules of

construction apply: (a) the singular shall include the plural and vice versa; (b) the masculine,

feminine, or neuter pronoun shall not exclude other genders; (c) the connectors “and” and “or”

shall be read either disjunctively or conjunctively as necessary to bring within the scope of these

Requests for Production all responses that might otherwise be construed to be outside their

scope; (d) the terms “any,” “all,” or “each” shall be read to mean any, all, each, and every; (e)

the world “including” shall be read to mean including without limitation; (f) the present tense

shall be construed to include the past tense and vice versa; and (g) references to employees,

officers, directors, or agents shall include both current and form employees, officers, directors,

and agents.

      8.      Unless otherwise stated, these Requests seek all responsive Documents created,

modified, maintained, transmitted, and/or generated during the Relevant Time Period, as well as

all responsive Documents created, modified, maintained, transmitted, and/or generated outside

Relevant Time Period, but which contain information Concerning the Relevant Time Period.

      9.      These Requests for Production call for the production of Documents that are in

the actual or constructive possession, custody, or control of You, regardless of location,

including in the possession, custody, or control of any current or former attorney(s),

Consultant(s), expert(s), and agent(s).

      10.     All Documents must be produced in their entirety, including all attachments and

enclosures. With respect to Documents that are maintained in the usual course of business in

paper, all Documents must be produced in their original folder, binder, or other cover or



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container, regardless of whether You consider the entire Document to be relevant or responsive

to the request. Whenever a Document or group of Documents is removed from a file folder,

binder, file drawer, file box, notebook, or other cover or container, a copy of the label of such

cover or other container must be attached to the Document or group of Documents.

      11.     For each Document produced, identify the Document request number(s) to which

the Document is responsive.

      12.     Documents shall be produced in such fashion as to identify the department,

branch, or office in whose possession they were located and, where applicable, the natural

person in whose possession they were found.

      13.     With respect to electronically stored information (“ESI”) formatting and

production instructions, production shall be made in the manner and format set forth in the ESI

protocol entered by the Court.

      14.     If any responsive Document was at any time but is no longer in Your possession

or subject to Your control, provide the following information:

                  a. the type of Document;

                  b. the type of information contained therein;

                  c. the identity of all persons having knowledge of the contents of such

                      Document;

                  d. the Document request number(s) to which the Document would have been

                      responsive;

                  e. whether the Document is missing or lost;

                  f. whether the Document has been destroyed;

                  g. whether the Document has been transferred voluntarily or involuntarily to



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                       others and, if so, at whose request;

                   h. whether the Document has been otherwise disposed of;

                   i. a precise statement of the circumstances surrounding the disposition of the

                       Document and the date of its disposition; and

                   j. the name(s) and address(es) of the Document’s current or last known

                       custodian(s).

       15.     If objection is made to any request or any portion thereof, the request or portion

thereof shall be specified and, as to each, all reasons for objection shall be stated fully.

Documents responsive to the portion of the request to which no objection is made shall be

produced in full. Moreover, if objection is made to any request or any portion thereof on the

ground that it is “overbroad” or “unduly burdensome,” You shall not be excused from producing

Documents responsive to the request or portion altogether, but shall produce Documents

responsive to the request or portion to whatever extent You are able without waiving Your

objections.

       16.     If in the course of responding to these Requests for Production, You encounter

any ambiguity in the Requests for Production, in a definition, or in an instruction relevant to the

Requests for Production, explain what You find to be ambiguous and what construction You

used in providing Your response.

       17.     If any responsive Documents are withheld or redacted under a claim of attorney-

client privilege, attorney work-product doctrine, or any other privilege or immunity from

discovery, You are requested to provide the information required by Federal Rule of Civil

Procedure 26(b)(5).

       18.     If a portion of any responsive Document is withheld under a claim of privilege



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pursuant to the preceding instruction, any non-privileged portion of such Document must be

produced with the portion claimed to be privileged redacted.

        19.      The specificity of any Request herein shall not be construed to limit the generality

or reach of any other Request herein.

        20.      These Document Requests are continuing in nature and require supplemental

responses as specified in Federal Rule of Civil Procedure 26(e) if You (or any person acting on

Your behalf) obtain additional Documents or information called for by these Requests between

the time of the original response and the time set for trial. Each supplemental response shall be

served on Plaintiffs no later than 14 days after the discovery of additional, responsive Documents

or information, and in no event shall any supplemental response be served later than the end of

the fact discovery period in the operative case management order.

                              III. RELEVANT TIME PERIOD

        Unless otherwise noted herein, the relevant time period of these Document requests is

January 1, 1994 (inclusive) through the present (the “Relevant Time Period”). These Requests

seek all responsive Documents created or generated during the Relevant Time Period, as well as

responsive Documents created or generated outside the Relevant Time Period, but which contain

information Concerning the Relevant Time Period.

                               IV. DOCUMENT REQUESTS

   I.         Documents Concerning Student Data

Request for Production No. 1: Documents sufficient to show for each Academic Year during

the Relevant Time Period:

                    a. the number of Applicants;

                    b. the number of Admitted Applicants;



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                 c. the number of Applicants You placed on a Waitlist;

                 d. the number of Admitted Applicants who enrolled as Students;

                 e. the number of Students in each class in each of the four years of Your

                     undergraduate program;

                 f. the number of Students in each class of the four years of Your

                     undergraduate program enrolled in any schools, colleges, or programs

                     with unique Admissions processes, including but not limited to Columbia

                     University School of General Studies, Oxford College at Emory

                     University, the University of Pennsylvania School of Liberal and

                     Professional Studies, the Brown University Resumed Undergraduate

                     Education program, the Georgetown University School of Continuing

                     Studies Bachelor’s Completion Program, the Duke University Continuing

                     Studies program for degree-seeking candidates, and the Yale University

                     Eli Whitney Students Program;

                 g. the number of Transfer Applicants;

                 h. the number of Admitted Transfer Applicants;

                 i. the average Financial Aid Package You extended to Admitted Applicants;

                 j. the average Financial Aid Package You extended to Admitted Transfer

                     Applicants;

                 k. the average Net Price of each Admitted Applicant;

                 l. the average Net Price of each Admitted Waitlist Applicant; and

                 m. the average Net Price of each Admitted Transfer Applicant.

Request for Production No. 2: For each Financial Aid Applicant during the Relevant Time



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Period, all data and information from each Financial Aid Applicant’s SAR, CSS Profile, or any

other Financial Aid application, for each Academic Year beginning when the Financial Aid

Applicant initially applied to Your full-time undergraduate program through every Academic

Year the Financial Aid Applicant continued enrollment beyond the initial Academic Year of

matriculation. Such data, provided in Electronic Format include but are not limited to:

                  a. from the SAR, if applicable, any common identifier, including Federal

                      Methodology (FM), EFC, data release number (“DRN”), and last four

                      digits of the Applicant’s social security number;

                  b. from the CSS Profile, if applicable, any College Board Financial Aid

                      Number (CBFinAid ID) or other means of uniquely identifying the

                      Applicant;

                  c. the Student’s full name;

                  d. all Applicant ID numbers received, created, or otherwise used by Your

                      institution;

                  e. the applicable Academic Year;

                  f. the Admitted Applicant’s or Student’s applications to, Admission

                      decisions by, and Financial Aid offers from other institutions;

                  g. the Admitted Applicant’s or Student’s family financial information,

                      including income, assets, and benefits;

                  h. the Admitted Applicant’s or Student’s family size, including the number

                      of family members who will be attending college during the applicable

                      Academic Year; and

                  i. any other data collected for the purpose of, considered in, or relied upon



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                      for making any Financial Aid determination, including but not limited to

                      the packaging of Financial Aid (i.e. mix of Loans, Gift Aid, and work-

                      study).

Request for Production No. 3: All Documents Concerning the effect of the following factors on

the decisions of Admitted Applicants to attend Your undergraduate institution:

                  a. changes in Your Net Price and/or changes in other undergraduate

                      institutions’ Net Prices;

                  b. other institutions’ pricing policies; and/or

                  c. Your or other institutions’ Financial Aid policies, including but not limited

                      to any reports or memoranda exchanged recommending changes to your

                      prices, Net Prices, Costs of Attendance, and/or Financial Aid policies in

                      light of changes or announcements by other institutions.

Request for Production No. 4: For each Financial Aid Applicant to Your full-time

undergraduate program during the Relevant Time Period, all data and information contained in

any (a) Financial Aid management software database or platform or (b) Admissions and

Enrollment Management Software, database, or platform, with such data to be provided in the

Electronic Format in which such data were received and/or subsequently stored if such data were

imported or otherwise integrated into Your databases.

Request for Production No. 5: To the extent not provided in response to one of the Requests

above, for each Financial Aid Applicant to Your full-time undergraduate program during the

Relevant Time Period, provided in the Electronic Format in which such data were received

and/or subsequently stored if such data were imported or otherwise integrated into Your

databases:



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               a. All Applicant ID numbers received, created, or otherwise used by Your

                  institution;

               b. the Academic Year of the Financial Aid Applicant’s Financial Aid

                  Application;

               c. the date of the Admissions application;

               d. the date of the Financial Aid Application;

               e. each Financial Aid Applicant’s identification number;

               f. if a Financial Aid Applicant is a returning Student, the Student

                  identification number or other identification number(s) maintained,

                  created, or used by Your institution.

               g. the Applicant’s full name;

               h. the Applicant’s age;

               i. the Applicant’s race;

               j. the Applicant’s ethnicity;

               k. the admittance status of the Applicant at Your institution and any other

                  institution;

               l. any information Concerning the Financial Aid Applicant’s actual or

                  potential Financial Aid, including whether the Applicant applied for

                  Financial Aid;

               m. whether the Applicant applied for any Early Admissions Program, Regular

                  Decision, as a Transfer, or was placed on a Waitlist;

               n. whether the Applicant had any family member who attended Your

                  institution;



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                  o. whether any of the Applicant’s parents were or are faculty or otherwise

                      employed at Your institution;

                  p. whether the Applicant was considered eligible for any preferential

                      admission on the basis of the Applicant’s lack of need for Financial Aid or

                      because of the Applicant’s family’s capacity to make a substantial

                      Donation; and

                  q. any other data considered in connection with the Applicant’s application.

Request for Production No. 6: Any and all common identifiers that You have received,

maintained, or used that permit matching an Applicant or Student across post-secondary

institutions to which the Applicant or Student may have applied for Admissions and/or Financial

Aid, including but not limited to common identifiers You have obtained from outside sources

such as the U.S. Department of Education, the College Board, or the Student or Student’s family.

Request for Production No. 7: For all Financial Aid Applicants during the Relevant Time

Period, all data, information and/or formulae, including Your Internal Financial Aid Formulae,

maintained, created, or used by You to evaluate a Financial Aid Applicant’s Financial Aid

eligibility and Financial Aid Package for each Academic Year beginning when the Applicant

initially applied for Your full-time undergraduate program through every Academic Year the

Student continued enrollment or otherwise submitted a Financial Aid Application beyond the

initial Academic Year of matriculation. Such data, provided in Electronic Format, include but are

not limited to:

                  a. the Applicant’s IM EFC;

                  b. the Applicant’s FM EFC

                  c. the Applicant’s EFC For Your Institutional Aid Formulae;



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                    d. all factors used in the determination of the IM EFC, including any and all

                         formula(e) used;

                    e.   all factors used in the determination of the FM EFC, including any and all

                         formula(e) used;

                    f. all factors used in the determination of the EFC for Your Institutional Aid

                         Formulae;

                    g. all forms of Financial Aid offered to the Applicant, including but not

                         limited to federal, institutional aid, and work-study programs; and

                    h. any data identifying any individual eligible for an FSEOG but who did not

                         receive such funds because the institution had reached or exceeded its

                         allotment.

Request for Production No. 8: Documents sufficient to show the median or average family

income of Your Students each Academic Year during the Relevant Time Period.

Request for Production No. 9: Documents sufficient to show the distribution of Your Students,

by income of their families, during the Relevant Time Period.

Request for Production No. 10: Documents sufficient to show the median or average family

income of Students enrolled in any schools, colleges, or programs with unique Admissions

processes, including but not limited to Columbia University School of General Studies, Oxford

College at Emory University, the University of Pennsylvania School of Liberal and Professional

Studies, the Brown University Resumed Undergraduate Education program, the Georgetown

University School of Continuing Studies Bachelor’s Completion Program, the Duke University

Continuing Studies program for degree-seeking candidates, and the Yale University Eli Whitney

Students Program.



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Request for Production No. 11: Documents sufficient to identify the number of Applicants

placed on a Waitlist and the number of Students admitted off the Waitlist each Academic Year

during the Relevant Time Period.

Request for Production No. 12: For all Admitted Waitlist Applicants, Documents sufficient to

identify the Admitted Waitlisted Applicant, whether the Admitted Waitlisted Applicant sought

Financial Aid, and any Financial Aid Package offered to or awarded to the Admitted Applicant.

Request for Production No. 13: Documents sufficient to identify the number of Transfer

Applicants and Transfer Students each during the Relevant Time Period.

Request for Production No. 14: For all Admitted Transfer Applicants, Admissions Documents

sufficient to identify the Admitted Applicant and all Documents Concerning whether the

Admitted Transfer Applicant sought Financial Aid and any Financial Aid Package offered to or

awarded to the Admitted Transfer Applicant.

Request for Production No. 15: For each Academic Year during the Relevant Time Period,

Documents sufficient to show the percentage of Students in Your full-time undergraduate

programs whose official residence is not the state in which Your full-time undergraduate

program is located.

Request for Production No. 16: For each and every Applicant and Student during the Relevant

Time Period, all data Concerning Your calculation of each Applicant’s Net Price of attendance

quoted and charged to them, and all components of the Net Price, for each Academic Year

beginning when the Applicant initially applied for Your full-time undergraduate program

through every Academic Year the Student continued enrollment beyond the initial Academic

Year of matriculation. Such data shall be provided in the Electronic Format in which such data

were received and/or subsequently stored if such data were imported or otherwise integrated into



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Your databases, and shall include the amount, date, transaction ID, whether it is a charge or

credit, and charge or credit type for the following:

                   a. each Cost-of-Attendance-related charge applied to the Student’s account,

                       including (but not limited to) Tuition, Room and Board fees, authorized

                       on-campus or off-campus living expenses, and activity fees;

                   b. each credit applied to the Student’s account, including but not limited to

                       any institutional aid, federal aid, parent Loans, and scholarships from

                       sources other than You or the federal government;

                   c. each disbursement You made to the Student; and

                   d. for any Student who withdrew from the institution, each return of Title IV

                       funds (R2T4) calculated.

Request for Production No. 17: All formulae used for the calculation of Net Price each

Academic Year during the Relevant Time Period.

Request for Production No. 18: To the extent not captured elsewhere in these Requests for

Production, all data collected from each Financial Aid Applicant that serve as an Input into such

formulae.

Request for Production No. 19: The Net Price for each Financial Aid Applicant each Academic

Year during the Relevant Time Period.

   II.      Documents Concerning Donor Data

Request for Production No. 20: Documents sufficient to show all Donations cumulatively

valued at $50,000 or more made by families of Admitted Applicants during the period five years

prior to when the Admitted Applicants were admitted. For Admitted Applicants who

matriculated, this Request also seeks all Documents Concerning Donations made by them, on



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their behalf, or by their families between the Students’ matriculation and the five years following

their graduation.

Request for Production No. 21: Documents sufficient to identify all members of Your Parent

Leadership Council or any other of Your Donor groups or societies. Such Parent Leadership

Councils and Donor groups or societies include but are not limited to the Caltech President’s

Circle, Cornell Family Fellows, MIT Parent Leadership Circle, and Notre Dame Billiart Circle.

Request for Production No 22: With respect to the list of individuals in Appendix 1, all

Documents in your Development Office or Admissions Office Concerning any actual or

potential Donation to You by such individuals, as well as all Documents in your Development

Office or Admissions Office Concerning any Applicants who are identified in any files, records,

databases, or software used by your Development Office as children, relatives, or friends of such

individuals.

Request for Production No. 23: All Documents or database entries Concerning awareness by

the Development Office of any Applicant at any time prior to that Applicant’s matriculation at

Your institution.

   III.    568 Group-Related Documents

Request for Production No. 24: All Documents Concerning the 568 Group, the 568 Group’s

leadership, and the 568 Group’s policies, practices, and procedures. This Request includes any

internal communications, including but not limited to those via email, text message, instant

message, and memorandum.

Request for Production No. 25: Documents sufficient to show the 568 Group’s organizational

structure, including any organizational charts, articles of incorporation, bylaws, handbooks,

memoranda of understanding, leaders or leadership structures, committees (including but not



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limited to the Steering Committee, Technical Committee, and Needs Analysis Council),

subcommittees, membership lists of such committees and subcommittees, rules or standards of

conduct for 568 Group Members, annual dues requirements, membership criteria, member lists,

Certifications of Compliance, and any Enforcement Mechanisms.

Request for Production No. 26: All Documents Concerning the participation of non 568 Group

Members in the 568 Group, including non-member attendance at any 568 Group-related

meetings, 568 Group Documents provided to non-members involved with the 568 Group, and

Documents received by the 568 Group by any non-member. This Request includes all

Documents supporting the statement in Columbia’s answer that non-member institutions have

attended meetings of the 568 Group and Documents sufficient to identify those non-members.

Request for Production No. 27: All Documents, including drafts, that You received from the

568 Group, Technical Committee, Needs Analysis Council, and Steering Committee and All

Documents sent or distributed by one or more 568 Group Members to the 568 Group, its

Technical Committee, its Needs Analysis Council, and its Steering Committee.

Request for Production No. 28: All Documents Concerning the admission, induction, or

acceptance of colleges or universities as 568 Group Members, including any admissions criteria,

application procedures, membership agreements (including memoranda of understanding and

Certifications of Compliance), and whether and why any interested institutions were offered or

denied membership by the 568 Group, or whether and why institutions may have declined

membership after being offered membership by the 568 Group.

Request for Production No. 29: All Documents Concerning the Consensus Methodology

including: (a) its development; (b) any proposed or implemented changes since its inception,

including the effects of such changes on 568 Group Members or any of them; (c) comparisons of



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the Consensus Methodology to the Institutional Methodology, Federal Methodology, any 568

Group Member’s Financial Aid methodology or practice(s), or any other Financial Aid

methodology or practice(s); (d) studies or analyses of the impact of the Consensus Methodology

on Financial Aid or Tuition; (e) rules or regulations Concerning 568 Group Members’

implementation of the Consensus Methodology or Financial Aid methodologies or practices; (f)

Documents used to train any person in the use, application, or understanding of the Consensus

Methodology; and (g) marketing, advertising, or public relations material Concerning the

Consensus Methodology.

Request for Production No. 30: All Documents Concerning:

                   a. how the 568 Group has defined the term “need-blind”; and

                   b. how the 568 Group communicated requirements for 568 Group Members

                      to be “need-blind” under its standards,

including all memoranda of understanding and Certifications of Compliance; any auditing or

similar efforts to ensure that 568 Group Members complied with the 568 Group’s “need-blind”

standard; any Enforcement Mechanisms contemplated or action actually taken against members

for failing to comply with the 568 Group’s “need-blind” standard; and any Documents

Concerning the treatment of Waitlisted Applicants and Transfer Applicants with respect to being

“need-blind” under the 568 Group’s standard.

Request for Production No. 31: All Documents Concerning the 568 Group that also Concern

the actual or potential preferential treatment of Applicants from families capable of making

substantial Donations; any Documents Concerning actual or potential preferential treatment of

Applicants who did not need Financial Aid; and any discussions of Enrollment Management,

including any efforts, plans, or proposals to craft the composition of classes at 568 Group



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Member institutions to achieve revenue or other financial goals.

Request for Production No. 32: All Documents generated by the 568 Group Concerning

operations, policies, proposals, administration, or plans of the 568 Group, including but not

limited to calendars, meeting dates, meeting agendas, lists of meeting attendees, and meeting

minutes from the 568 Group, the Steering Committee, the Technical Committee, the Needs

Analysis Council, and any other committees or subcommittees.

Request for Production No. 33: All Documents Concerning the Technical Committee’s

recommendations with respect to the Consensus Methodology or any changes that the 568 Group

should consider making to the Consensus Methodology.

Request for Production No. 34: All Documents Concerning the applicability of the Consensus

Methodology and any other agreement of the 568 Group to first-year Students versus non-first-

year Students at Your undergraduate institution.

Request for Production No. 35: All Documents Concerning Footnote 2 in the 2016

Memorandum of Understanding of the 568 Presidents’ Group,

http://www.568group.org/home/sites/default/files/568_MOU_2016_Final.pdf, stating that “[a]n

agreement reached with the U.S. Department of Justice in 1993 allows institutions to be need

aware with admitted wait list student (sic) so long as they meet the full need of all Admitted

Applicants,” including a signed or executed agreement, and any similar Documents Concerning

the permissibility of admitting Waitlisted, transfer, and nontraditional Applicants on a Need-

Aware basis under 568 Exemption.

Request for Production No. 36: All Documents Concerning the College Board’s involvement

with the 568 Group, including but not limited to Documents Concerning the following statement

contained in the 568 Presidents Group Consensus Methodology Policy Guidelines: “Where



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possible, the professional expertise and program services of the College Scholarship Service

(CSS) of the College Board shall be used as a resource to advance the implementation of this

Consensus Methodology. In addition to their long-standing role as the primary data collection

agency, the College Board is invited, where appropriate, to assist with modeling of various

recommendations in order to assess their impact on both families and institutions.”

Request for Production No. 37: All Documents Concerning the 568 Group’s membership in,

participation in, or affiliation with any professional organizations or consortia, including but not

limited to COFHE. This Request includes All Documents Concerning communications between

the 568 Group and COFHE, or between any 568 Group Member and COFHE, and all

Documents Concerning the qualifications to become a member of COFHE.

Request for Production No. 38: All Documents Concerning communications among 568 Group

Members and governmental entities regarding Financial Aid, including but not limited to

Financial Aid policies, Financial Aid practices, and Financial Aid Packages. “Government

entities” include but are not limited to the U.S. Department of Justice and the U.S. Department of

Education.

Request for Production No. 39: All Documents Concerning data exchanged between or among

568 Group Members and/or between You and the 568 Group or its membership, including but

not limited to the sharing of data or other information related to Financial Aid formula(e),

Financial Aid policies, Financial Aid packages for Students and Admitted Applicants, and

Admissions decisions of Applicants.

Request for Production No. 40: All Documents Concerning the 568 Group’s antitrust policies,

guidelines, trainings, and public relations materials including analyses of the 568 Group’s

compliance with the 568 Exemption and any analyses of the Overlap Agreement reached as part



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of the case known as United States v. Brown, 5 F.3d 658 (3d Cir. 1993).

   IV.     Documents Specifically Pertaining to Each of the Defendants

Request for Production No. 41: Documents sufficient to show Your organizational structure,

including Your directors, officers, deans, and employees involved in, and Your departments,

divisions, affiliates, or contractors engaged in (a) the Admission of undergraduate Students to

Your institution, (b) the solicitation and management of Donations and gifts to Your institution

or any of its subdivisions or component entities, (c) the development of budgets, and (d)

institutional research and competitive analysis. This Request includes organizational charts and

Documents sufficient to identify each employee or contractor with responsibilities for

undergraduate Admissions, Enrollment Management, Development and Donor relations, alumni

relations, finance and investments, the coordination of the Development office and the

Admissions office, and institutional research.

Request for Production No. 42: All Documents Concerning Your decision(s) to join, leave,

purportedly withdraw from, or continue participating in the 568 Group at any time or times

during the Relevant Time Period. This Request includes all communications, internal or with

third parties, about such decisions, including communications with counsel other than those

solely between You and Your counsel.

Request for Production No. 43: All Documents Concerning Your communications with any

568 Group Member Concerning (a) Admission of Students, (b) cost of Tuition, (c) Financial Aid

programs or packages, and (d) need-blind (however You define that term) Admissions practices

and/or (e) the Consensus Methodology or implementation of the Consensus Methodology or

similar Financial Aid formulae.

Request for Production No. 44: All Documents Concerning Your attendance at any 568 Group-



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related activity, including general meetings, committee meetings, and subcommittee meetings.

This Request includes Documents sufficient to reveal the identities of all employees or

representatives of You who participated in such activities.

Request for Production No. 45: All Documents Concerning Your use of, implementation of,

decision to modify, or decision to use an alternative methodology to, the Consensus

Methodology.

Request for Production No. 46: All Documents Concerning (a) the creation and structuring of

your Financial Aid Packages, (b) Financial Aid being a functional or apparent Discount, (c) Your

institutional and outside funding for Financial Aid, and (d) any analyses or data Concerning

Your ability to provide Financial Aid.

Request for Production No. 47: All Documents Concerning informational, promotional,

marketing, public relations, recruitment, solicitations, campaigns, talking points, pitches, or other

communications You make available or direct to prospective Applicants, their families, college

Admissions Consultants, school counselors, and coaches, and the development of such materials,

campaigns, etc.

Request for Production No. 48: All Documents made available or presented to prospective

Applicants, their families, college Admissions Consultants, school counselors, and coaches

comparing Your institution and/or its Financial Aid programs, policies, and practices to those of

other institutions.

Request for Production No. 49: Documents, including any statements, summaries, forecasts,

strategic plans, budgets, data, and analyses, sufficient to demonstrate, for each Academic Year

during the Relevant Time Period, Your Tuition revenue, Financial Aid, Development efforts or

income, endowment performance, and costs to establish and operate Your institution, including



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but not limited to fixed-costs, financing, upgrades, improvements, maintenance, utilities, and

renovations.

Request for Production No. 50: Documents, including any statements, summaries, forecasts,

strategic plans, budgets, data, and analyses, sufficient to demonstrate, for each Academic Year

during the Relevant Time Period, the Cost of Attendance at Your institution, including but not

limited to how Your Cost of Attendance was determined during the Relevant Time Period.

Request for Production No. 51: All Documents Concerning Your public statements regarding

reasons for increases to Tuition or Cost of Attendance.

Request for Production No. 52: All Documents Concerning the effect on the Cost of

Attendance of increasing or decreasing Financial Aid.

Request for Production No. 53: For each of Your fiscal or calendar years during the Relevant

Time Period, in whichever manner such Documents are normally maintained, all Documents

Concerning: (a) the dollar amount of Your restricted endowment assets (i.e., endowments assets

resulting from Restricted Donations); (b) the dollar amount of Your restricted endowment assets

that are devoted to undergraduate Financial Aid; (c) the dollar amount of Your unrestricted

endowment assets (i.e., endowment assets resulting from Unrestricted Donations); (d) the annual

percentage return earned by Your endowment (i.e., endowment income divided by endowment

assets); (e) the total number of Students; and (f) the total number of full-time students, including

those in graduate and professional school.

Request for Production No. 54: All Documents Concerning policies, practices, and procedures

relating to applications to your undergraduate programs and for Financial Aid during the

Relevant Time Period including but not limited to Common Application submissions, Coalition

application submissions, QuestBridge application submissions, Posse application submissions,



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Your internal Admissions application submissions, FAFSA and SAR submissions, CSS Profile

submissions, supplemental Financial Aid Application form submissions, Financial Aid Packages

provided to all Admitted Applicants and Students, and any revisions to Financial Aid Packages.

Request for Production No. 55: Documents sufficient to show Your Admissions and Financial

Aid policies, practices, and procedures for each Academic Year during the Relevant Time

Period, including handbooks, manuals, training materials, and promotional materials.

Request for Production No. 56: Documents Concerning Your decision to include or not include

reference to the 568 Group or the Consensus Methodology on Your website, in promotional

materials, or in other communications with prospective Applicants, Applicants, and their

families.

Request for Production No. 57: All Documents Concerning materials provided to prospective

Applicants, Applicants, Admissions Consultants, school, counselors, or coaches or otherwise

available publicly describing Your institution as an elite academic institution with highly

selective admission policies.

Request for Production No. 58: All Documents Concerning Dean’s Interest Lists, Z Lists, and

Tagging protocols and any Documents reflecting that anyone in Your Admissions office or

President’s Office, or deans’ offices viewed images of Applicants’ homes, considered

Applicants’ family income or family wealth in any way, considered whether Applicants’ zip

codes signified affluence, or considered whether the Applicants revealed in any way that they

intended to apply for Financial Aid.

Requestion for Production No. 59: All Documents Concerning Your analysis, interest in, or

awareness of the Financial Aid policies, practices, and customs of any other institution of higher

education.



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Requestion for Production No. 60: All Documents Concerning Your discussions and

communications with other 568 Group Members as to whether they were need-blind (however

You define that term).

Request for Production No. 61: All Documents Concerning differences in Your Financial Aid

policies, practices, or procedures for Applicants and Admitted Applicants (a) in any Early

Admissions programs; (b) in the Regular Decision program; (c) off the Waitlist; (d) as a Transfer

Applicant; or (e) into any schools, colleges, or programs with unique Admissions processes,

including but not limited to Columbia University’s School of General Studies, Oxford College at

Emory University, the University of Pennsylvania School of Liberal and Professional Studies,

the Brown University Resumed Undergraduate Education program, the Georgetown University

School of Continuing Studies Bachelor’s Completion Program, the Duke University Continuing

Studies program for degree-seeking candidates, and Yale University Eli Whitney Students

Program.

Request for Production No 62: All Documents Concerning the Admissions and Financial Aid

policies and practices, formal or informal, for programs targeted toward non-traditional, full-time

degree-seeking undergraduate Applicants and Students, including those with breaks in their

education, adult learners, and those with dependents. Such programs include but are not limited

to the Columbia University School of General Studies, the University of Pennsylvania School of

Liberal and Professional Studies, the Brown Resumed Undergraduate Education program, the

Georgetown School of Continuing Studies Bachelor’s Completion Program, the Duke University

Continuing Studies program for degree-seeking candidates, and Yale’s Eli Whitney program.

Request for Production No. 63: All Documents Concerning any relationship between Early

Admissions programs and Financial Aid.



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Request for Production No. 64: All Documents Concerning Your Internal Financial Aid

Formula(e), including their development, implementation, changes, proposed changes, and

comparisons to or implementations of the Consensus Methodology, Institutional Methodology

Federal Methodology, any 568 Group Member’s Financial Aid formula(e), and any Peer

Institutions’ Financial Aid formula(e). This Request includes any and all Inputs and Outputs for

Your Internal Financial Aid Formula(e) and all methodologies and systems used to determine

a Student or Admitted Applicant’s ability to the pay Cost of Attendance.

Request for Production No. 65: All Documents Concerning Your decision(s) to award the same

or a different amount of Financial Aid to Students after their first year of attendance.

Request for Production No. 66: All Documents Concerning any purported need for

independent professional judgment in the awarding of Financial Aid, including, but not limited

to, formal or informal Financial Aid appeals or reconsideration processes; successful or

unsuccessful attempts by Applicants or Students to avail themselves of any such appeal or

reconsideration; deviations from any Financial Aid formula(e) relevant for particular Applicants

or Students based on unique Financial Circumstances or presentation of competing Financial Aid

offers from other institutions.

Request for Production No. 67: All Documents Concerning the practice or policy of “reverse

engineering” a Financial Aid Package formula(e) used by any other institution.

Request for Production No. 68: All Documents analyzing the relationship between the

Financial Aid Package offered to Admitted Applicants and their likelihood of matriculating,

including all Documents Concerning communications between or among You, the 568 Group,

and/or any 568 Group Members regarding the same.

Request for Production No. 69: All Documents analyzing the choices made by Admitted



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Applicants to Your institution to attend institutions of higher education other than Yours.

Request for Production No. 70: All Documents Concerning the application and enrollment

decisions of persons who did, and did not, apply to Your full-time undergraduate program,

including but not limited to all National Student Clearinghouse reports and data Concerning the

institutions that Applicants applied to and where they chose to enroll.

Request for Production No. 71: Documents sufficient to identify all the schools You have ever

identified as Peer Institutions.

Request for Production No. 72: All Documents analyzing the colleges and universities You

consider Peer Institutions, including any such analyses by Your Office of Institutional Research

or those produced to the U.S. Department of Education or any college ranking organization. This

Request includes all Documents Concerning Your competitive standing among Peer Institutions,

including but not limited to analyzes related to brand preferences, supply of available seats,

prestige, Cost of Attendance, Net Price, Financial Aid, and the ability for Applicants to substitute

one Peer Institution for another.

Request for Production No. 73: All Documents Concerning Your rankings, or the rankings of

Your Peer Institutions, in U.S. News & World Report rankings of educational institutions.

Request for Production No. 74: All Documents Concerning materials provided to prospective

Applicants and their families, Applicants, Admissions Consultants, school counselors, or coaches

or otherwise available publicly referring Your U.S. News & World Report ranking.

Request for Production No. 75: All Documents made available or presented to prospective

undergraduate Applicants, their families, college Admissions Consultants, school counselors,

and coaches that refer to any ranking information, together with any Documents Concerning the

reason for the inclusion of the particular ranking information.



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Request for Production No. 76: All Documents analyzing or discussing the effect (whether

actual or potential, prospective or retrospective) on You of a favorable U.S. News & World

Report ranking, including a ranking in any particular tier, such as, for example, the top 5, top 10,

or top 25.

Request for Production No. 77: All Documents Concerning Your Enrollment Management,

including analyses of the use of any Enrollment Management Software, Consultants, employees,

analyses, data, or algorithms. This Request includes all Documents within Your Admissions

Office Concerning Landscape. This Request also includes all Documents Concerning the roles of

any administrator at Your institution whose title or job description includes the term “enrollment

management.”

Request for Production No. 78: All Documents Concerning the book entitled, “Handbook of

Strategic Enrollment Management.” This Request includes all Documents Concerning any of the

co-authors or editors of the book.

Request for Production No. 79: All Documents within Your Admissions Office referring to the

“missing middle,” “barbell effect,” “middle income,” or “middle class.”

Request for Production No. 80: All Documents Concerning actual or potential consideration of

any Applicant’s Financial Circumstances, including all Documents Concerning whether an

Applicant placed on the Dean’s Interest List or Z List prior to Your making a decision regarding

whether to admit the Applicant and whether the Applicant was in fact actually accepted for

Admission by You.

Request for Production No. 81: Documents sufficient to show Your “yield” rate on acceptances

by Admitted Applicants for each Academic Year during the Relevant Time Period and also in

comparison to any other institutions, together with any Documents Concerning any analysis or



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comparison in your possession Concerning Your yield rate as compared with such institutions,

and any steps that might be taken to improve Your yield rate.

Request for Production No. 82: All Documents Concerning Your membership in, participation

in, or affiliation with any professional organizations, alliances, consortia, or partnership

programs Concerning Admissions, including but not limited to the Common Application,

COFHE, the Coalition for College, QuestBridge, the Posse Foundation, and the American Talent

Initiative. This Request includes all data shared between You and these organizations, alliances,

or consortia and between You and other partners or members.

Request for Production No. 83: All Documents Concerning lobbying the National Commission

on Responsibilities for Financing Postsecondary Education and the principle, policy, or goal that

parents, Students, or families should be primarily responsible for bearing the cost of

postsecondary education.

Request for Production No. 84: All Documents Concerning Your policies with respect to

Admissions or Financial Aid policies when or if Your Financial Aid budget has been exhausted

or exceeded in any given admissions cycle.

Request for Production No. 85: All Documents Concerning the article published on February

23, 2019 in the Providence Journal entitled “VIP Dinners Offer Peek at Culture of Privilege.”

See Lucas Smolcic Larson et al., VIP Dinners Offer Peek at Culture of Privilege, PROVIDENCE J.

(Feb. 23, 2019), https://www.providencejournal.com/story/news/education/2019/02/24/vip-

dinners-offer-peek-at-culture-of-privilege-at-brown-university/5834510007/.

Request for Production No. 86: All Documents Concerning the April 9, 2019 public statement

by Brown University President Christina Paxson, where she wrote: “Preferential treatment, real

or suspected, for students based on wealth or privilege is corrosive to our community. We are



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looking carefully at all our practices across the University—from alumni and parent engagement,

to residential life, to academic concerns, to student conduct—to make sure that favoritism has no

influence on students’ experiences.”

Request for Production No. 87: All Documents Concerning the April 20, 2017 Columbia

Spectator article by Jessica Spitz, which describes Columbia’s School of General Studies’s

“perennial lack of funds that has left it, in stark comparison with Columbia College, unable to

provide need-blind financial aid for its students.” Jessica Spitz, At a Crossroads: The Future of

GS, COLUMBIA SPECTATOR (Apr. 20, 2017),

https://www.columbiaspectator.com/news/2017/04/20/at-a-crossroads-the-future-of-gs/.

Request for Production No. 88: All Documents Concerning the November 14, 2017 Columbia

Spectator article by Eli Lee entitled “Public Health Professor Lisa Rosen-Metsch Appointed

Dean of General Studies” including the editor’s note issued on February 16, 2022 stating, in

substance, that the article’s previous statement that General Studies Admissions are “need-

aware” was in error. See Eli Lee, Public Health Professor Lisa Rosen-Metsch Appointed Dean of

General Studies, COLUMBIA SPECTATOR (Nov. 14, 2017),

https://www.columbiaspectator.com/news/2017/11/14/public-health-professor-lisa-rosen-metsch-

appointed-dean-of-general-studies/.

Request for Production No. 89: All Documents Concerning the statement by Cornell Financial

Aid Director Thomas Keane in response to Princeton University’s decision to increase Financial

Aid that “[i]n addition to the academic investment, the financial investment makes [students]

appreciate their education more.” Stan Schweiger and Tristan Schweiger, Princeton Stands

Alone with New Financial Aid Plan, DAILY PENNSYLVANIAN (Feb. 5, 2001),

https://www.thedp.com/article/2001/02/princeton_stands_alone_with_new_financial_aid_plan.



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Request for Production No. 90: All Documents Concerning the July 17, 2001 article by

Shevani Jaisigh entitled “28 Colleges Alter Fin. Aid Packages.” See Shevani Jaisingh, 28

Colleges Alter Fin. Aid Packages, DARTMOUTH (July 7, 2001),

https://www.thedartmouth.com/article/2001/07/28-colleges-alter-fin-aid-packages. This Request

includes all Documents Concerning the “need analysis methodology” mentioned in the article.

Request for Production No. 91: All Documents Concerning Cornell’s statement that it targets

an “increase annually [in tuition] to reflect the cost increases that the university experiences in

providing that education” and that “Cornell’s long-term goal is to keep the annual growth in

endowed Ithaca tuition reasonably close to inflation.” Michael L. Whalen, CORNELL UNIVERSITY

DIVISION OF PLANNING & BUDGET, Cornell University 2008-09 Financial Plan (May 2008),

https://dpb.cornell.edu/documents/1000406.pdf.

Request for Production No. 92: All Documents Concerning Cornell’s statement that its

“spending rate has converged with the rates of its research university peers and the overall

average of the institutions that participate in the NACUBO Endowment Study,” including

Documents used to identify the Peer Institutions referenced in the NACUBO Endowment Study.

See Michael L. Whalen, CORNELL UNIVERSITY DIVISION OF PLANNING & BUDGET, Cornell

University 2008-09 Financial Plan (May 2008), https://dpb.cornell.edu/documents/1000406.pdf.

Request for Production No. 93: All Documents Concerning Cornell’s announcement that “it

will match the need-based financial aid for admitted students who are also accepted to other Ivy

League Schools and will strive to match the need-based financial aid from Duke University, the

Massachusetts Institute of Technology and Stanford University.” Susan Kelley, Cornell to Match

Financial Aid Offers of Peer Universities, CORNELL CHRON. (Dec. 7, 2010),

https://news.cornell.edu/stories/2010/12/cornell-matches-financial-aid-offered-peer-schools.



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Request for Production No. 94: All Documents Concerning the statement by Cornell’s former

Dean of Admissions Maria Laskaris stating, “The ultra-rich have an additional advantage in their

ability to donate large sums of money to universities, which can boost their kids’ chances of

acceptance. . . . Colleges are always in fundraising mode.” See Jill Tucker, In the College

Admissions Game, Even the Legal Kind, Money Has Always Mattered, S.F. CHRON. (Mar. 12,

2019), https://www.sfchronicle.com/bayarea/article/In-the-college-admissions-game-even-the-

legal-13683518.php.

Request for Production No. 95: All Documents Concerning the substance of Cornell’s assertion

in its Answer that “[j]ointly establishing recommended best practices for measuring need

improves the accuracy of determinations of students’ ability to pay and promotes a more efficient

allocation of financial aid—thereby decreasing the price paid by some students and increasing

the quality of financial aid awards.”

Request for Production No. 96: All Documents Concerning the substance of Cornell’s assertion

in its Answer that the 568 Group’s collaboration “also improves accessibility of higher education

by broadening the pool of applicants who can, with financial aid, afford to attend higher

education and improves the socioeconomic diversity of the class of admitted students—which

increases consumer choice as well as the quality of education and educational experience

provided.”

Request for Production No. 97: All Documents Concerning the statement on the Dartblog that

“[a]t Dartmouth, development officers meet with admissions staff to review a list created by the

development office. Each year, up to 50 applicants may be considered through this special

process, most of whom are admitted, accounting for 4-5% of Dartmouth student body.”

Request for Production No. 98: All Documents Concerning work performed by Jeff Sassorossi,



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including any work he performed as Dartmouth’s “liaison between the Advancement (Alumni

Relations and Development) and Admissions” relating to Admissions policies and to Admissions

of specific Students.

Request for Production No. 99: All Documents Concerning the book The Price of Admission,

by Daniel Golden, including statements in the book from Duke’s then-President Richard

Brodhead that “it would be naïve to say that a university should pay no attention to a family’s

ability to help the university” and that a family’s ability to donate to Duke was a “plus factor” in

Admissions and from Duke’s former Director of Undergraduate Admissions Jean Scott that “‘a

couple hundred’ applicants a year received special attention as children of prospective donors.”

Request for Production No. 100: All Documents Concerning the statement by Duke President

Richard Broadhead that “[i]t would be naïve to say that any university should pay no attention to

a family’s ability to help the university” and that “[t]he question is how much, what is the weight

we will give this?” Geoffrey Mock, Broadhead Discusses Early Admissions, Developmental

Admits, DUKE TODAY (Sept. 22, 2006), https://today.duke.edu/2006/09/admit.html.

Request for Production No. 101: All Documents Concerning Emory’s January 17, 2013 press

release entitled “Commitment to Excellence Guides Financial Aid” that “due to the combination

of internal and external financial pressures, Oxford College implemented a need-sensitive

framework in admitting and shaping part of its freshman class.” See Beverly Clark, Commitment

to Excellence Guides Financial Aid, EMORY NEWS CTR. (Jan. 17, 2013),

https://news.emory.edu/stories/2013/01/er_financial_aid/campus.html.

Request for Production No. 102: All Documents Concerning the statement by Georgetown’s

Dean of Admissions Charles Deacon that “[o]n the fundraising side, we also have a small

number of ‘development potential’ candidates. If Bill Gates wants his kid to come to



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Georgetown, we’d be more than happy to have him come and talk to us.” See Alvin P. Sanoff,

Getting in to Top Schools, WASHINGTONIAN (Oct. 1, 2007),

https://www.washingtonian.com/2007/10/01/getting-in-to-top-schools/.

Request for Production No. 103: All Documents Concerning Georgetown’s statement that it

“compete[s] among the top 25 universities in the nation,” including those used to identify the

Peer Institutions. See President John J. DeGioia, Student Town Hall Meeting on the Implications

of the Financial Crisis (Mar. 2, 2009), https://president.georgetown.edu/speeches/student-town-

hall-meeting-on-the-implications-of-the-financial-crisis/.

Request for Production No. 104: All Documents Concerning Johns Hopkins’s report entitled

“Ten by 2020.” See Johns Hopkins University, Johns Hopkins Moves Up to 12th in U.S. News

Rankings of Best Colleges, HUB (Sept. 10, 2013), https://hub.jhu.edu/2013/09/10/us-news-

annual-rankings/.

Request for Production No. 105: All Documents Concerning the statement by Northwestern

President Morton Shapiro that “I know some say we [the 568 Group] are trying this, and

Princeton is trying to blow us out of the water, . . . I don’t think that’s true. But [Princeton’s

move] certainly isn’t helping. It doesn’t make it easier to come to some sort of broad agreement

in principle.” Mark Clayton, Quiet Effort to Promote More Needs-Based Aid, CHRISTIAN SCI.

MONITOR (Feb. 13, 2001), https://www.csmonitor.com/2001/0213/p13s1.html.

Request for Production No. 106: All Documents Concerning the April 14, 2011 article in the

Washington Post entitled “Northwestern Now a First Choice to Many, Its President Says.” See

Daniel de Vise, Northwestern Now a First Choice to Many, Its President Says, WASH. POST

(Apr. 14, 2011), https://www.washingtonpost.com/blogs/college-inc/post/schapiro-northwestern-

now-a-first-choice-to-many/2011/04/13/AFSXTacD_blog.html.



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Request for Production No. 107: All Documents Concerning the April 24, 2019 Daily

Northwestern article entitled “Northwestern President Schapiro Says He Reads Applications of

Some Legacy, Donor Students.” Alan Perez & Gabby Birenbaum, Northwestern President

Schapiro Says He Reads Applications of Some Legacy, Donor Students, THE DAILY

NORTHWESTERN (Apr. 24, 2019),

https://dailynorthwestern.com/2019/04/24/campus/northwestern-president-schapiro-says-he-

reads-applications-of-some-legacy-donor-students/. This Request includes all Documents

Concerning the related podcast of Northwestern alumnus Alan Perez on May 3, 2019.

Request for Production No. 108: All Documents Concerning Notre Dame’s Vice President for

Undergraduate Enrollment Don Bishop’s statement that “[p]eople think they give a couple

hundred thousand or a million, they’re big donors, that’s just no longer the case” but that a larger

Donation “which could fund 10 to 15 scholarship kids for perpetuation—do you let their children

have some special interest? Yes. But they still have to be quite good.” See Daniel Golden, Jared

Kushner Isn’t Alone: Universities Still Give Rich and Connected Applicants a Leg Up,

PROPUBLICA (Nov. 22, 2016), https://www.propublica.org/article/jared-kushner-isnt-alone-

universities-give-rich-applicants-a-leg-up.

Request for Production No. 109: All Documents Concerning Director of Undergraduate

Admissions at Notre Dame Bob Mundy, who is described in his biographies at various alumni

gatherings as “delivering a freshmen class of approximately 2,000 students while also satisfying

the needs of various constituencies, ie. . . . the Development Office, etc.”

Request for Production No. 110: All Documents Concerning former University of

Pennsylvania Admissions Officer Karen Crowley’s statement that “[i]t never hurts to remind

schools [that] you will be a full-paying student . . . [because t]he rules even change at need-blind



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schools when it comes to the waitlist. It’s not an official practice, but Admissions officers are

human. They know endowments are down and cost-cutting is essential. If a full-paying student

says he’ll definitely come, letting him in can be a relief.” See Kathleen Kingsbury, Dirty Secrets

of College Waitlists, DAILY BEAST (July 14, 2017), https://www.thedailybeast.com/dirty-secrets-

of-college-waitlists?ref=scroll.

Request for Production No. 111: All Documents Concerning Vanderbilt’s statement that it

“reserve[s] the right” or reserved the right to consider financial need of Applicants on its Waitlist

and for Transfer Applicants.

Request for Production No. 112: All Documents Concerning the claim by the Yale Daily News

that “Yale officials pointed out that Princeton, for example, is already striking an individual aid

path. Princeton’s January aid announcement, which eliminated loans and reduced student

savings, diverged from some of the 568 plans, administrators said. Administrators said they fear

that more and more schools will make radical decisions if a group like the 568 presidents group

is not allowed to exist.” See Louise Story, Following Princeton, Harvard Beefs Up Aid, YALE

DAILY NEWS (Feb. 22, 2001), https://yaledailynews.com/blog/2001/02/22/following-princeton-

harvard-beefs-up-aid/.

Request for Production No. 113: All Documents Concerning the Yale Daily News article

published on February 16, 2005 entitled “Legacies Still Maintain an Edge in Admissions.”

Hillary August, Legacies Still Maintain Edge in Admissions, YALE DAILY NEWS (Feb. 16, 2005),

https://yaledailynews.com/blog/2005/02/16/legacies-still-maintain-edge-in-admissions/. This

Request includes all Documents Concerning the “A-list,” “B-list,” or “C-list,” mentioned in the

article, or any similar lists, including copies of such lists, the identities of all Applicants or their

family members on such lists, and whether any Applicant connected to any such list was



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ultimately accepted, rejected, or Waitlisted.

Request for Production No. 114: All Documents Concerning the September 26, 2008 article in

the Yale Daily News entitled “University Leaves Financial Aid Group,” including but not limited

to statements, comments, discussions, remarks, or analyses by the 568 Group or 568 Group

Members (including Yale) Concerning Yale’s statement that its “new, more generous aid policy

in January means the University can no longer follow the consensus methodology” and that “[b]y

leaving the 568 Group, Yale is now free to give more aid than they would have gotten under the

consensus methodology.” See Caitlin Roman, University Leaves Financial Aid Group, YALE

DAILY NEWS (Sept. 26, 2008), https://yaledailynews.com/blog/2008/09/26/university-leaves-

financial-aid-group/. This Request includes all Documents Concerning Yale’s decision to

purportedly withdraw from the 568 Group.

Request for Production No. 115: All Documents Concerning Yale’s decision to purportedly re-

join the 568 Group.

Request for Production No. 116: All Documents Concerning the contents of the November 2,

2018 article in the Yale Daily News entitled “Development Office Courts ‘VIP’ High Schoolers,

Children of Potential Donors” or the article itself. Lorenzo Arvanitis & Skakel McCooey,

Development Office Courts “VIP” High Schoolers, Children of Potential Donors, YALE DAILY

NEWS (Nov. 2, 2018), https://yaledailynews.com/blog/2018/11/02/development-office-courts-

vip-high-schoolers-children-of-potential-donors/.

Request for Production No. 117: All Documents Concerning foreign national Applicants such

as those identified in the March 26, 2022 Air Mail article entitled “Yale for Sale.” See Clara

Molot, Yale for Sale, AIR MAIL (Mar. 26, 2022), https://airmail.news/issues/2022-3-26/yale-for-

sale.



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Request for Production No. 118: All Documents Concerning Michael Lynton or the Lynton

family.

   V.      Documents Concerning Applicants’ Financial Circumstances

Request for Production No. 119: All Documents Concerning Your definition of the term “need-

blind” as used and defined in Section 568 of the Improving America’s Schools Act of 1994 (15

U.S.C. 1 note).

Request for Production No. 120: All Documents Concerning the 568 Group’s definition of

“need-blind” as used and defined in Section 568 of the Improving America's Schools Act of

1994 (15 U.S.C. 1 note).

Request for Production No. 121: Documents sufficient to show that, for each year as a 568

Group Member, You did not consider the Financial Circumstances of Waitlisted or Transfer

Applicants in making Admissions decisions.

Request for Production No. 122: All Documents Concerning whether to publicly state that

Your institution admits all domestic Students on a “need-blind” basis (however You define it).

Request for Production No. 123: All Documents Concerning Your definition of the terms

“need aware” and “need sensitive.”

Request for Production No. 124: All Documents Concerning different or preferential treatment

in the Admissions process for Applicants whose families are capable of making substantial

Donations and Applicants who do not need Financial Aid at Your institution or that of any 568

Group Member or Peer Institution.

Request for Production No. 125: All Documents Concerning any employees in Your Institution

formally or informally involved in coordinating between the Admissions Office and

Development Office or in encouraging the application and enrollment of Applicants not



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requiring Financial Aid, including Documents sufficient to identify all such individuals by their

names and titles.

Request for Production No. 126: All Documents Concerning any communications between

Your Admissions Office staff and Your Development Office staff Concerning any Donor or

Applicant, including any email correspondence and any shared electronic data or information

sources.

Request for Production No. 127: All Documents Concerning communications between (a)

Your Admissions Office and the Development Office, (b) the President’s Office and the

Admissions Office, and/or (c) the Financial Aid Office and Admissions Office, including any

email correspondence and any shared electronic data or information sources, that identify

Applicants by name and discuss the Applicants’ candidacy prior to Your issuing a formal

decision on their Admissions application.

Request for Production No. 128: All Documents Concerning communications between or

among You (including but not limited to any employee in the Development Office, Financial Aid

Office, Admissions Office, Alumni Relations Office, or President’s office) and any natural

person(s) or families, or representatives of such natural person(s) whom You identified as part of

a family who has ever cumulatively donated $50,000 or more to You (on either a one-time or

annual basis in that amount or higher) Concerning any Applicants, Admitted Applicants, current

Students, or former Students of You.

Request for Production No. 129: All Documents reflecting communications between or among

You (including but not limited to any employee in the Development Office, Financial Aid

Office, Admissions Office, Alumni Relations Office, or President’s office) and any natural

person(s) whom You have identified as part of a family Your institution has identified as capable



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of cumulatively providing Donations of at least $50,000, either on a one time or annual basis,

whose children who have applied or have been admitted to Your institution.

Request for Production No. 130: All Documents reflecting communications between or among

the Office of the President, Alumni Relations Office, Development Office, or Admissions Office

Concerning an Applicant’s family income, wealth, zip code, or actual or anticipated Donations to

You.

Request for Production No. 131: All Documents Concerning meetings, phone calls, or other

communications other than Applicant Admissions interviews that took place or take place

between or among Applicants and any of your faculty, staff, employees, or officers, including

any communications by Your Development Office or Your President regarding any such

meetings, phone calls, or communications other than Applicant Admissions interviews.

Request for Production No. 132: All Documents Concerning parents or other relatives of an

Applicant establishing, or potentially establishing, an endowed chair or endowed fund.

Request for Production No. 133: All Documents Concerning Your policies and/or practices

directed towards compliance with the antitrust laws, whether formal or informal, including: (a)

all written policies, (b) presentations to employees, inclusive of antitrust education, training,

and/or compliance sessions and/or seminars, and (c) all statements signed by your employees

acknowledging their receipt of and/or compliance with Your policies and/or practices directed

towards compliance with the antitrust laws, whether formal or informal.

Request for Production No. 134: All Documents Concerning the paper by Raj Chetty et al.,

entitled “Income Segregation and Intergenerational Mobility Across Colleges in the United

States,” which found that “[e]qualizing application, admission, and matriculation rates across

parental income groups conditional on test scores would reduce segregation substantially,



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primarily by increasing the representation of middle-class students at more selective college.”

Request for Production No. 135: All Documents Concerning the renewal of the 568 Exemption

or modification of that exemption, including any advocacy Concerning such renewal.

    VI.     Documents Concerning Defendants’ Agreement(s) or Understandings

Request for Production No. 136: All Documents Concerning Your understandings or

agreements, formal or informal, with the 568 Group or 568 Group Members regarding

Admissions or Financial Aid policies or practices.

Request for Production No. 137: All Documents Concerning any agreement and/or promise to

indemnify You or make You whole for any financial liability or exposure in this Action or any

other antitrust litigation.

Request for Production No. 138: All Documents Concerning agreements, discussions,

communications, or meetings between You and any other college(s) or university(ies)

Concerning Financial Aid, Cost of Attendance, and Admissions, including with regard to

particular Students or Applicants.

Request for Production No. 139: All Documents Concerning any agreements between You and

any other colleges or universities to share information Concerning Applicants admitted through

Early Admissions Programs.

Request for Production No. 140: All Documents Concerning communications with any officer,

trustee, or employee of Harvard University, Princeton University, Stanford University, or any

institution that You believe did not adopt the Consensus Methodology Concerning the 568

Group, the 568 Exemption, or any actual or potential discussions, agreements, or sharing of

information under the Exemption.

Request for Production No. 141: All Documents Concerning any conversations, meetings,



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communications, or agreements conducted pursuant to the 568 Exemption other than

conversations, meetings, communications, or agreements constituting the activities of the 568

Group.

Request for Production No. 142: All Documents Concerning any conversations, meetings, or

communications between You and any other institution of higher education about efforts,

individually or collectively, to persuade Congress to extend and/or modify the 568 Exemption

after it is scheduled to expire on September 30, 2022. This Request includes All Documents

between You and any person or entity employed as a lobbyist by you on these subjects, or

between You and any Member of Congress or Congressional staff person on these subjects.

   VII.    Documents Concerning Defendants’ Defenses

Request for Production No. 143: All Documents Concerning any affirmative defense You have

raised or may raise in this Action.

Request for Production No. 144: All Documents Concerning Your institution’s efforts,

policies, or goals to admit Students that reflect either (a) the “unique potential of applicants from

less fortunate situations;” or (b) an economically diverse class.

Request for Production No. 145: All Documents Concerning Your institution’s efforts,

policies, or goals to limit the number of Admitted Applicants who need Financial Aid.

Request for Production No. 146: All Documents You relied on or considered with respect to

any position You have reached regarding whether Your Financial Aid and Admissions practices

were or are lawful under the antitrust laws. This Request includes any Documents or statements

made by or to the Department of Justice.

Request for Production No. 147: If you contend that You have withdrawn from the 568 Group

at any point during the Relevant Time Period, all Documents Concerning:



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                   a. Your alleged decision to withdraw;

                   b. how You have implemented that decision;

                   c. any use You have made of the Consensus Methodology or any of its

                      principles since purportedly withdrawing;

                   d. alternative methods of determining financial need or Financial Aid awards

                      that you have used since purportedly withdrawing;

                   e. differences in outcomes between Your former use of the Consensus

                      Methodology and any subsequent Financial Aid practices;

                   f. any communications you have had with anyone (including the 568 Group

                      and 568 Group members) since Your withdrawal regarding any of the

                      matters in items “a”-“e” of this Request; and

                   g. any Documents Concerning Your disavowing or repudiating the 568

                      Group and the 568 Group’s goals.

Request for Production No. 148: If You contend that any Plaintiff or Class member could have

mitigated their damages, produce as to each such Plaintiff or Class member all Documents on

which You rely as the basis for that contention.

Request for Production No. 149: If You contend that any Plaintiff or Class member could have

mitigated their damages, produce Documents sufficient to identify any available Financial Aid,

including but not limited to grants, scholarships, Tuition assistance, or loan forgiveness programs

that Plaintiffs or Class members could have applied for or obtained but failed to do so.

Request for Production No. 150: All Documents Concerning the possible or actual use of

endowment funds to increase Financial Aid or decrease the Cost of Attendance for

undergraduate Students. This Request also includes all Documents Concerning the use of



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endowment principal or income for Financial Aid.

Request for Production No. 151: All Documents Concerning any Merit Aid offered to

Applicants and awarded to Students during the Relevant Time Period.

Request for Production No. 152: All Documents Concerning statements or communications by

You to any media outlet Concerning this Action, including all Documents that support, justify, or

verify the content of those statements or communications.

Request for Production No. 153: All Documents Concerning Student advocacy efforts, formal

or informal, to increase or improve Financial Aid for Students. This Request includes Documents

Concerning groups including but not limited to Brown for Financial Aid, A Leg Even, the

Endowment Justice Coalition, Columbia-Barnard Young Democratic Socialists of America, I’m

First, First Generation Student Union, Dartmouth Student Union, First-Generation Low Income

Partnership, FLI@MIT, Penn First, and the Yale FGLI Advocacy Movement.

   VIII. Documents Concerning the Potential or Actual Effects of the 568 Group and the
         Consensus Methodology

Request for Production No. 154: All Documents Concerning the actual or potential effect of

Your being a 568 Group Member, including the actual or potential effect of adopting or

considering the Consensus Methodology, or any modifications to Your Financial Aid

methodology made as a result of the 568 Group, on Your Financial Aid or Cost of Attendance.

Request for Production No. 155: Documents Concerning whether Your use of the Consensus

Methodology or Your membership in the 568 Group had, has, or could have the effect of limiting

the discretion of Your Financial Aid officers to grant additional Financial Aid.

Request for Production No. 156: All Documents Concerning Your views, concerns, or

considerations regarding whether elimination of the 568 Group would increase Financial Aid

awards.


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Request for Production No. 157: All Documents Concerning Princeton University’s

announcements in 1998 and 2001 Concerning the elimination of Loans from Financial Aid

Packages.

Request for Production No. 158: All Documents Concerning any principle, policy, goal, or

analysis regarding the amount that a Student (or the Student’s family) should bear with respect to

financing the cost of postsecondary education.

   IX.      Documents Concerning Reports, Investigations, and Litigation

Request for Production No. 159: All Documents produced in response to subpoenas You or

any Defendant serve(s) in this Action.

Request for Production No. 160: All Documents referenced or relied upon in responding to

interrogatories in this Action.

Request for Production No. 161: All Documents referenced or relied upon in writing Your

Answers in this Action.

Request for Production No. 162: All Documents produced to any government entity in

connection with any investigation, litigation, or criminal prosecution Concerning Your

Admissions, Financial Aid, or Development programs, procedures, policies, and practices.

Request for Production No. 163: All Documents Concerning any communications You had

with any governmental authority or representative in connection with the 568 Exemption, the

568 Group, or the Consensus Methodology.

Request for Production No. 164: All Documents Concerning government inquiries or

investigations into the 568 Group’s or Your institution’s compliance with antitrust laws. This

Request includes all communications with any government authority, agency, or department

Concerning Your participation in the 568 Group.



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Request for Production No. 165: All Documents Concerning or produced in United States v.

Brown University, Nos: 2:91-cv-03274 (E.D. Pa); 92-1911 (3d Cir.), including but not limited to

all pleadings, briefs, subpoenas, exhibits, and deposition transcripts.

Request for Production No. 166: All Documents Concerning or produced by the 568 Group or

568 Group Members in Students for Fair Admission v. Harvard, Nos. 14-cv-14176 (D. Mass);

No. 15-1823 (1st Cir.); 20-1199 (S. Ct.), including but not limited to all pleadings, briefs,

subpoenas, exhibits, and deposition transcripts.

Request for Production No. 167: All Documents Concerning or produced by the 568 Group or

568 Group Members in Students for Fair Admission v. University of North Carolina, Nos. 1:14-

cv-954, No. 15-1823 (1st Cir.); No. 21-707 (S. Ct.), including but not limited to all pleadings,

briefs, subpoenas, exhibits, and deposition transcripts.

Request for Production No. 168: All Documents provided the Government Accountability

Office regarding any Government Accountability Office (“GAO”) Report Concerning the

Consensus Methodology or the 568 Group and all Documents Concerning such reports.

Request for Production No. 169: All Documents provided to or Concerning any National

Association of College and University Business Officers (NACUBO) studies of endowments.

   X.      Documents Concerning Maintenance of Records

Request for Production No. 170: All Documents Concerning Your policies and/or practices

with respect to the retention and/or destruction of Documents, including but not limited to

electronically stored information.

Request for Production No. 171: All Documents Concerning Your litigation hold(s) issued in

connection with this Action.

Request for Production No. 172: Documents sufficient to explain and understand the general



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network architecture of Your computer systems that contain electronic Documents, transactional

data, or other electronically stored information requested in these Requests for Production.

Request for Production No. 173: All Documents including a request, suggestion, and/or

instruction by the 568 Group or a 568 Group Member or any of its agents or employees to: (a)

delete, destroy, and/or discard any Document, (b) maintain the secrecy of any Document and/or

practice, (c) prohibit or limit the forwarding or circulation of any Document, (d) to move a

discussion or email thread over to a personal email address, phone number, or application, (e) to

avoid discussing a subject in writing, or (f) otherwise avoid leaving written evidence.



Dated: September 19, 2022




 /s/ Robert D. Gilbert                               /s/ Edward Normand
 Robert D. Gilbert                                   Devin (Velvel) Freedman
 Elpidio Villarreal                                  Edward Normand
 Alexis Marquez                                      Eric Rosen
 GILBERT LITIGATORS &                                Peter Bach-y-Rita
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                                                     pbachyrita@rochefreedman.com




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/s/ Eric L. Cramer                          /s/ Elizabeth A. Fegan
Eric L. Cramer                              Elizabeth A. Fegan
Caitlin Coslett                             FEGAN SCOTT LLC
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                                  APPENDIX 1
Parent Name(s)                    Child(ren)’s Class      Defendant University
                                  Year(s)
Marion Annau and Reza Satchu      2023                    Brown University
Andrin and Mala Bachmann          2023                    Brown University
Dominique Bravo and Eric Sloan    2023                    Brown University
Anne Marie Burgoyne and Brad      2025                    Brown University
Roberts
Colin and Elizabeth Callender     2015, 2023, 2025        Brown University
Kimberly and Louis D’Ambrosio     2022                    Brown University
Julie and John Danaher            2024                    Brown University
Jason Ding and Jennifer Wang      2017, 2022              Brown University
Charity and Edward Dong           2023, 2024              Brown University
Mark and Megan Dowley             2021, 2022              Brown University
Alexander and Pamela Dubitsky     2023, 2024              Brown University
Dean and Elizabeth Durling        2025                    Brown University
Andrea and Brady Enright          2024                    Brown University
Antonio and Maria Esteves         2025                    Brown University
Katie Gledhill                    2021                    Brown University
Elana Griffin                     2023                    Brown University
Chris and Deborah Heine           2023                    Brown University
Hui Hong Kao and Steve Kao        2023, 2026              Brown University
Nathalie Kaplan                   2023                    Brown University
Rene Lacerte and Joyce Chung      2025                    Brown University
Donna Lloyd George                2016, 2024              Brown University
Paula and Eric Madoff             2022, 2024, 2025        Brown University
Alison and Joseph Miller          2019, 2022              Brown University
Deepti and Suneet Mittal          2018, 2022              Brown University
Priya and Rajiv Pandit            2020, 2023              Brown University
Michael McDonald and Rebecca      2024                    Brown University
Wright
Mayumi and Craig Mitchell         2024                    Brown University
Deepak and Veena Munganahalli     2023                    Brown University
Lauren Rosenkranz                 2015, 2023              Brown University
Colin Rowlings and Weiping Xu     2024                    Brown University
Helena and Per Skarstedt          2023                    Brown University
Pamela and Eric Stang             2025, 2026              Brown University
Alicia and Robert Wyckoff         2022                    Brown University
Stephanie and Arthur Young        2025                    Brown University
Anne Zhao and Julian Ma           2021                    Brown University
Edward Baker III                  2020                    Columbia University
Lauren and Keith Breslauer        2021, 2023              Columbia University
Gary and Shari Brooks             2024                    Columbia University
Xiaoli Chen and Hongbin Peng      2020                    Columbia University

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Parent Name(s)                      Child(ren)’s Class    Defendant University
                                    Year(s)
Yihua Chen and Tianyin Shi          2021                  Columbia University
Estelle Choe and Paul Kim           2022                  Columbia University
Audra and Eric Cohen                2018, 2021            Columbia University
Yu Dang and Ming Weng               2025                  Columbia University
Steven and Roberta Denning          2006                  Columbia University
Rebecca and Robert DeSantis         2022                  Columbia University
Alisa Drijanski and Emilio Romano   2018, 2022            Columbia University
Phyllis and Hamen Fan               2013                  Columbia University
Suning and Fenglei Fang             2004                  Columbia University
David and Nicole Gruenstein         2018                  Columbia University
Margarita Inserni                   2016                  Columbia University
Mary and Adam Kirsch                2017                  Columbia University
Annabelle Huang and Stanley Ko      2023                  Columbia University
Joshua and Carolyn Kraft            2023                  Columbia University
George Jiang and Hua Tang           2019                  Columbia University
Catherine and Robert Hwang          2022                  Columbia University
Robin-Hwajin Kim                    2023                  Columbia University
Sungwan Kim and Hosun Yoon          2023                  Columbia University
Delia and Bijan Khosrowshahi        2016 and 2018         Columbia University
Kenneth and Christine Lee           2022                  Columbia University
Amendy and Kevin Leung              2023                  Columbia University
Jian Li and Zhifeng Yang            2023                  Columbia University
Chun Liu and Wenjun Qiao            2019, 2022            Columbia University
Qing and Xiasong Liu                2019                  Columbia University
Laurel Mayer and Jonathan Hecht     2021, 2022            Columbia University
Moe Moe and Soe Naing               2022                  Columbia University
Kally and Othon Mourkakos           2017                  Columbia University
Ann and Francis Neczypor            2008                  Columbia University
Anthony O’Carroll and Robyn Field   2021, 2023            Columbia University
Echo Ren and Jack Wang              2024                  Columbia University
Tianyin Shi and Ted Chen            2021                  Columbia University
Zhengtao Shi and Steve Zhang        2024                  Columbia University
Jill and Mark Shinderman            2025                  Columbia University
Catherine and Thomas Strong         2024                  Columbia University
Radhieka and Prabhash Subasinghe    2022                  Columbia University
Alejandro Vollbrechthausen and      2016                  Columbia University
Lucila Robert
Chiu Yam and Jun Zhai               2021                  Columbia University
Jue Wang and Chengjian Zhou         2019                  Columbia University
Yu Qiao Wei and Yong An Xu          2017                  Columbia University
Tina Yam and Jack Zhai              2021                  Columbia University
Lisa and John Ying                  2023                  Columbia University
Julie and Alexander Zaks            2017, 2019            Columbia University

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Parent Name(s)                    Child(ren)’s Class      Defendant University
                                  Year(s)
Charles Zhang and Lynn Chen-Zhang 2017, 2020              Columbia University
Wei Zhang                         2022                    Columbia University
Stephen and Lisa Bonner           2011                    University of Chicago
Donna and Casey Keller            2017, 2021              University of Chicago
Buffy and Alex Poon               2024                    University of Chicago
Thomas Rosenbaum                  2012, 2015              University of Chicago
Bruce and Juli Melton             2019, 2022              Caltech
Lauren and William Murphy         2017, 2018              Caltech
Paul Robinson                     2017                    Caltech
Eileen Aptman                     2022                    Cornell University
Saleel Awsare                     2020                    Cornell University
Evan Bakst                        2023                    Cornell University
Melissa Bausano                   2022                    Cornell University
Barbara Bebon                     2023                    Cornell University
Alan and Pam Bergman              2022                    Cornell University
Cheryl Breitkopf                  2022                    Cornell University
Wendy Browder                     2023                    Cornell University
Dorian Brown                      2021                    Cornell University
Leslie Burgstahler                2020                    Cornell University
Melissa and John Ceriale          2016, 2023              Cornell University
Charlie and Liz Chasin            2015, 2019              Cornell University
Gail and David Furman             2019, 2022              Cornell University
Said Haidar                       2021                    Cornell University
Joseph Hardy                      2019                    Cornell University
Stephanie Hirschberg              2023                    Cornell University
Stephanie Johnson                 2022                    Cornell University
Robert Makheja                    2021, 2023              Cornell University
Pablo Melasecca                   2022, 2024              Cornell University
Marco Masotti                     2021                    Cornell University
William and Lisa McGahan          2020                    Cornell University
David and Pauline Musto           2020, 2023              Cornell University
Joe and Kate Naggar               2023                    Cornell University
Robert Peracchia                  2022                    Cornell University
Anthony and Jeanne Pritzker       2017                    Cornell University
David Rosenberg                   2011, 2013, 2019        Cornell University
Stephen and Kara Ross             2017                    Cornell University
Stephen Scherr                    2021                    Cornell University
David Sommer                      2021                    Cornell University
Steven and Kathy Spandorfer       2018                    Cornell University
Sarah Sternklar                   2023                    Cornell University
Tom Wu                            2022                    Cornell University
Lucinda Bhavsar                   2023, 2025              Dartmouth College
Jeffrey and Amy Crowe             2008, 2010, 2015        Dartmouth College

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Parent Name(s)                      Child(ren)’s Class        Defendant University
                                    Year(s)
James and Karen Frank               1994                      Dartmouth College
Scott and Lisa Stuart               2014, 2016, 2021, 2023    Dartmouth College
Michael Bingle                      2025                      Duke University
Bob Cullen and Ann Pelham           2006                      Duke University
Edward Gilhuly                      2013, 2017,               Duke University
Gerald and Anita-Agnes Hassell      2008                      Duke University
Betsy and Arthur Holden             2011, 2013                Duke University
Karen and Greg King                 2023                      Duke University
Kathryn Hollister and Brad Miller   2017                      Duke University
Peter Nicholas                      2021, 2024                Duke University
Robert Penn and Katherine Baker     2005, 2011, 2019          Duke University
Penn
Gerard and Paula Sansosti           2015, 2019, 2020, 2021,   Duke University
                                    2024
Thomas Stanley and Ashley Crowder   2006, 2009, 2012          Duke University
Stanley
Frederick and Barbara Sutherland    2003, 2006                Duke University
William Arnett                      2005                      Emory University
Arthur Blank                        1998                      Emory University
Henry Bowden                        2008                      Emory University
Lane and Stephanie FRostbaum        2018, 2020                Emory University
Judi Renbaum Kletz                  2015                      Emory University
Arthur Radford Laney                2010, 2012                Emory University
Steve Margol                        2013                      Emory University
William and Catherine Rice          2012, 2018                Emory University
Eugene and Barbara Ruslecki         2008, 2009, 2013, 2015    Emory University
Mitchell Tanzman                    2018                      Emory University
Art and Lauri Vinson                2008, 2009, 2011, 2013    Emory University
Rosemary Berkery                    2015                      Georgetown University
Robert and Rachael Dedman           2023, 2025                Georgetown University
Joe and Cheryl Della Rosa           2005, 2007                Georgetown University
Marijn and Andra Moffett Dekkers    2019, 2021, 2021          Georgetown University
Walid Hajj                          2021                      Georgetown University
Frank and Elizabeth Ingrassia       2020                      Georgetown University
Victoria Johner y Cruz              2022                      Georgetown University
John and Claire Joyce               2015                      Georgetown University
Tivia and Richard Kramer            2022                      Georgetown University
Janet and Rod Little                2022                      Georgetown University
Robert Lloyd George                 2014                      Georgetown University
George and Patricia Raffini         2014                      Georgetown University
Brian and Eileen Riano              2021                      Georgetown University
Otto and Jeanne Ruesch              2002, 2009                Georgetown University
Tiziana and Ramez Sousou            2022                      Georgetown University

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Parent Name(s)                      Child(ren)’s Class    Defendant University
                                    Year(s)
Fernando Zobel de Ayala             2019, 2025            Georgetown University
Praveen and Rekha Abichandani       2024                  Johns Hopkins University
Eric Aboaf and Cheryl Whaley        2025                  Johns Hopkins University
Jonathan and Michelle Aufzien       2023                  Johns Hopkins University
Jeff and Helen Camp                 2023                  Johns Hopkins University
Scott and Lisa Capps                2025                  Johns Hopkins University
John and Elizabeth Dowds            2024                  Johns Hopkins University
Betsy Ferguson                      2024                  Johns Hopkins University
Ward and Carol Glassmeyer           2025                  Johns Hopkins University
Timothy and Yvette Karman           2025                  Johns Hopkins University
Anton and Robin Katz                2023                  Johns Hopkins University
Chet and Alison Kronenberg          2024                  Johns Hopkins University
Gregory and Abbe Large              2023                  Johns Hopkins University
Michael and Jenifer Lehrer          2024, 2026            Johns Hopkins University
Steve and Jeannie Madreperla        2025                  Johns Hopkins University
Derek and Jennifer Malmberg         2024                  Johns Hopkins University
Terry and Gail Maytin               2023                  Johns Hopkins University
Beejadi Mukunda and Deepa Rao       2024, 2025            Johns Hopkins University
Jeffrey Naiman and Marjorie Fox     2025                  Johns Hopkins University
Alan Pardee and Sally Morris        2023                  Johns Hopkins University
Jih-Ping Peng and Ashley Chao       2024                  Johns Hopkins University
John and Carolyn Petite             2024                  Johns Hopkins University
Bob and Jane Poansky                2019, 2020            Johns Hopkins University
Amr Razzak and Jane Hsaio           2025                  Johns Hopkins University
Ellis and Rose Rinaldi              2023                  Johns Hopkins University
Steve Vitcov and Ruby Ghadially     2017                  Johns Hopkins University
Gururaj Desphande                   2007                  MIT
Nicole and David Guenstein          2021                  MIT
Lynn Hylen                          2021                  MIT
Ralph and Karen Izzo                2017                  MIT
Reza and Julia Madidi Pourian       2013                  MIT
Jeremy Wertheimer                   2022                  MIT
Douglas Berthiaume                  2020                  University of Notre Dame
John and Barbara Glynn              2000, 2006            University of Notre Dame
Rick and Molly Klau                 1996                  University of Notre Dame
Mark Pulte and Nany Pulte Rickard   2013                  University of Notre Dame
Kenn and Pamela Ricci               2016                  University of Notre Dame
Charles and Ellen Sheedy            1999, 2001, 2020      University of Notre Dame
Jane Ahn and Carl Park              2024, 2025            University of Pennsylvania
Mauricio Alvarado and Claire        2021, 2023            University of Pennsylvania
Guglielmi
Doug and Christine Belgrad          2015, 2023            University of Pennsylvania
Barry and Andrea Cayton             2018, 2025            University of Pennsylvania

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Parent Name(s)                      Child(ren)’s Class    Defendant University
                                    Year(s)
Bob and Mary Ann Downes             2022                  University of Pennsylvania
Cameron and Tracy Falconer          2025                  University of Pennsylvania
Mitchell and Teri Gevinson          2019, 2023            University of Pennsylvania
Lawrence and Andrea Gill            2021                  University of Pennsylvania
Alex and Rebecca Ginzburg           2023, 2025            University of Pennsylvania
Bari and Neil Goldmacher            2025                  University of Pennsylvania
Madhukar and Chaya Govindaraju      2025                  University of Pennsylvania
Matthew and Hedi Gross              2021                  University of Pennsylvania
Jason and Dana Harrison             2024                  University of Pennsylvania
Diana Huan and Chuong Nguyen        2022                  University of Pennsylvania
Randall and Lori Isenberg           2023                  University of Pennsylvania
Marshall and Johanna Kiev           2024                  University of Pennsylvania
Robin Kim                           2021                  University of Pennsylvania
Alan and Ada Kumar                  2025                  University of Pennsylvania
Sandeep and Purvi Kunwar            2020, 2022            University of Pennsylvania
Antonio Larrea and Pilar Tamara     2020, 2024            University of Pennsylvania
Elie and Jody Levine                2019, 2025            University of Pennsylvania
Nathaniel and Dana Lipman           2019, 2022            University of Pennsylvania
Simon and Sharon Mendelson          2022                  University of Pennsylvania
Michael and Barrie Mengarelli       2021                  University of Pennsylvania
Mark and Jennifer Mouritsen         2022                  University of Pennsylvania
Francis and Rosemary O’Dowd         2022                  University of Pennsylvania
Tousif Pasha and Shazia Krimani-    2024                  University of Pennsylvania
Pasha
David and Jane Preiser              2021                  University of Pennsylvania
Joel and Shari Ronkin               2023, 2025            University of Pennsylvania
Jane Rose                           2024                  University of Pennsylvania
Steven and Ellen Ross               2022                  University of Pennsylvania
Philip and Jennifer Saltier         2024                  University of Pennsylvania
Thomas and Robbi Schiff             2019, 2021            University of Pennsylvania
Brinda and Manish Shah              2020, 2022, 2026      University of Pennsylvania
Mary Shannon and Dwight Scott       2022                  University of Pennsylvania
Maria and Antonio Scotto            2023                  University of Pennsylvania
Daniel and Cherie Serota            2018, 2021            University of Pennsylvania
Eytan Shapiro and Lesley-Anne       2021                  University of Pennsylvania
Gliedman
Alan Shen and Jenny Yu              2023, 2025            University of Pennsylvania
James and Devereux Socas            2022                  University of Pennsylvania
Andrew and Rebecca Stein            2025                  University of Pennsylvania
David and Pamela Ulich              2021                  University of Pennsylvania
Lisa Walker and William Rudnick     2024                  University of Pennsylvania
Andy Wei and Julie Liu              2024                  University of Pennsylvania
Bill Wolf and Meredith Bluhm-Wolf   2024                  University of Pennsylvania

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Parent Name(s)                      Child(ren)’s Class    Defendant University
                                    Year(s)
John and Rachel Young               2020, 2022, 2024      University of Pennsylvania
Sten Gustafson and Sofia Adrogue    2022, 2026            Rice University
Read and Trish Ballew               2020                  Rice University
Tim and Lisa Blazer                 2021                  Rice University
Bart and Val Broadman               2017, 2019, 2022      Rice University
Harlan Coben and Anne Armstrong-    2019, 2022            Rice University
Coben
Monisha Gupta                       2018                  Rice University
Tommy Huie and Janet Wong-Huie      2016, 2020            Rice University
Jean Lin                            2018                  Rice University
Milinda McNeely                     2022                  Rice University
Jason and Michelle Robertson        2018                  Rice University
Daniel Sayre                        2021                  Rice University
Michael and Janet Scott             2017, 2020            Rice University
Ron Slimp                           2021                  Rice University
Atul Varadhachary                   2018                  Rice University
Katherine Warren                    2015, 2019            Rice University
Linda Yau                           2020, 2022            Rice University
Steven and Ellen Adams              2011, 2014            Vanderbilt University
Bruce and Debra Alper               2015                  Vanderbilt University
Stephen and Anna Avera              2016                  Vanderbilt University
Lee and Ramona Bass                 2010                  Vanderbilt University
Steven and Lauren Beck              2015                  Vanderbilt University
Rhett and Ann Bentley               2014, 2016            Vanderbilt University
Even Bernsten and Krysten Ericson   2016                  Vanderbilt University
Lorna Boich                         2015                  Vanderbilt University
Stephen and Gail Brookshire         2010                  Vanderbilt University
Alvin Brown and Yolanda Ferrell-    2014                  Vanderbilt University
Brown
Roe and Ruth Buckley                2016                  Vanderbilt University
Mark and Judith Buono               2013, 2016            Vanderbilt University
John and Wilma Byrunes              2013                  Vanderbilt University
Ben and Leigh Carpenter             2011                  Vanderbilt University
Brad and Wendy Chayet               2012                  Vanderbilt University
Rob and Poppy Clements              2013, 2015            Vanderbilt University
Peter Collery and Alison Adams      2013                  Vanderbilt University
James and Rebecca Craig             2013                  Vanderbilt University
Daniel and Ellen Crown              2015                  Vanderbilt University
Tom and Georgia Davis               2014                  Vanderbilt University
William and Cynthia Davis           2015, 2016            Vanderbilt University
Claiborne and Elaine Deming         2006, 2012            Vanderbilt University
Mitchell and Marcy Dolins           2014                  Vanderbilt University


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Parent Name(s)                         Child(ren)’s Class   Defendant University
                                       Year(s)
Lawrence Dickerson and Marcela         2014                 Vanderbilt University
Donadio
Brady Dougan                           2015                 Vanderbilt University
Thomas and Rosemary Dowling            2015                 Vanderbilt University
John and Frances Downing               2010, 2013           Vanderbilt University
Alan and Sherrie Eisenman              2015                 Vanderbilt University
Charles and Ivette Esserman            2014                 Vanderbilt University
Michael and Lida Exstein               2015                 Vanderbilt University
Charles and Lora Farkas                2015                 Vanderbilt University
Jay and Patty Fischoff                 2013                 Vanderbilt University
Lawrence and Maria Elena Fisher        2014                 Vanderbilt University
William Ford                           2016                 Vanderbilt University
John and Laura Foster                  2013                 Vanderbilt University
James and Linda Garard                 2013                 Vanderbilt University
Robert and Stacey Gendelman            2012, 2016           Vanderbilt University
James and Mary Glerum                  2015                 Vanderbilt University
Allan Goldman                          2013                 Vanderbilt University
Williams Goodwyn Jr. and Maura         2013                 Vanderbilt University
Goodwyn
Warren Gorrell Jr. and Cathy Gorrell   2008                 Vanderbilt University
Mark and Ellie Gottwald                2015                 Vanderbilt University
Fred and Iris Green                    2009, 2012, 2016     Vanderbilt University
Martin and Megan Gregor                2014, 2016           Vanderbilt University
Brian Allen Grove and Charlotte        2015                 Vanderbilt University
Sunderland Grove
Steven Grushkin                        2005, 2009           Vanderbilt University
Lawrence and Mary Guevel               2015                 Vanderbilt University
Susan Gurney                           2013                 Vanderbilt University
Scott and Sheryl Habermin              2013                 Vanderbilt University
William and Victoria Hanlon            2011, 2013, 2016     Vanderbilt University
Curtis and Beth Harrell                2013, 2016           Vanderbilt University
John and Renee Hawkins                 2016                 Vanderbilt University
Harry and Bee Hawks                    2015                 Vanderbilt University
Gregory and Susan Hebrank              2014                 Vanderbilt University
Michael and Lisa Heim                  2016                 Vanderbilt University
Kenneth and Leslie Heisz               2013                 Vanderbilt University
Bruce and Vicki Heyman                 2010, 2013           Vanderbilt University
John and Wendy Hills                   2014                 Vanderbilt University
Jay and Michaela Hoag                  2015, 2017           Vanderbilt University
Peter and Lucy Holbrook                2013                 Vanderbilt University
Jeff and Marissa Hollander             2014                 Vanderbilt University
George and Hope Huber                  2014                 Vanderbilt University
Sam and Jan Hunsaker                   2016                 Vanderbilt University

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Parent Name(s)                       Child(ren)’s Class   Defendant University
                                     Year(s)
Gary and Lisa Hurwitz                2013, 2015           Vanderbilt University
Diana Hudson and Lee Kaplan          2012                 Vanderbilt University
Steven and Jenny Hufford             2015                 Vanderbilt University
Gregory and Tracey Iglehart          2014                 Vanderbilt University
Surendra and Kala Jain               2014                 Vanderbilt University
Susan Johns                          2016                 Vanderbilt University
William Johnston and Ronda Stryker   2013                 Vanderbilt University
Michael and Beth Jones               2014                 Vanderbilt University
Jed and Terri Kaminetsky             2015                 Vanderbilt University
Scott and Kathleen Kapnick           2016                 Vanderbilt University
Donald and Diane Kane                2008, 2012           Vanderbilt University
Paul and Sarah Karon                 2014                 Vanderbilt University
David and Darcie Kent                2013                 Vanderbilt University
Richard and Terri Kim                2015                 Vanderbilt University
Howard and Shelly Kivell             2013                 Vanderbilt University
Daniel and Robin Klaes               2012                 Vanderbilt University
Charles and Charlotte Kline          2014                 Vanderbilt University
Douglas and Susan Kline              2015                 Vanderbilt University
Michael Kluger and Heidi Greene      2014                 Vanderbilt University
Michael and Elizabeth Kojaian        2013                 Vanderbilt University
John and Helen Kornblum              2010, 2014           Vanderbilt University
Jeremy Kramer and Dorothy Davies     2015                 Vanderbilt University
Spencer and Rhonda Kravitz           2009, 2010           Vanderbilt University
Charles Kurz                         2004                 Vanderbilt University
Edward and Jill Kutchin              2015                 Vanderbilt University
Michael Lesser and Mindy Schneider   2015                 Vanderbilt University
Stephen and Sue Libowsky             2012, 2015           Vanderbilt University
Steve and Shelli Lindley             2014                 Vanderbilt University
Hays and Allyson Lindsley            2014                 Vanderbilt University
Jack and Karen Linville              2010, 2014           Vanderbilt University
Rob and Susan Long                   2015                 Vanderbilt University
Edwin and Elizabeth Mahoney          2014                 Vanderbilt University
David and Tammie Maloney             2013                 Vanderbilt University
Robert and Brenda Manard             2013                 Vanderbilt University
Mary Lou Manus                       2014                 Vanderbilt University
Steve and Julie Maroda               2012, 2013           Vanderbilt University
George and Susan Matelich            2011, 2013           Vanderbilt University
Maryk and Patricia Mays              2013, 2015           Vanderbilt University
Andrew and Lucy McCain               2014                 Vanderbilt University
Ronald and Diana McCall              2013                 Vanderbilt University
Eugene McCarron and Eve D’Amato      2014                 Vanderbilt University
Thomas and Paula McCloskey           2014                 Vanderbilt University
David and Nicki McDonald             2011                 Vanderbilt University

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Parent Name(s)                      Child(ren)’s Class    Defendant University
                                    Year(s)
Suzanne and Patrick McGee           2015, 2016            Vanderbilt University
John and Alex Mosko                 2011                  Vanderbilt University
Nancy Mulford                       2012                  Vanderbilt University
Richard and Denise Neibart          2015                  Vanderbilt University
John and Lisa Nevins                2014                  Vanderbilt University
Craig and Sally Nordlund            2009, 2012            Vanderbilt University
James and Denise Offerdahl          2015                  Vanderbilt University
David and Mimi Olson                2014                  Vanderbilt University
Michael and Judy Orkin              2011                  Vanderbilt University
Robert Pascucci and Lisa Puntillo   2015                  Vanderbilt University
Scott and Courtney Pastrick         2009, 2010, 2014      Vanderbilt University
Brad and Susan Patt                 2016                  Vanderbilt University
Marshall and Dee Ann Payne          2010, 2014            Vanderbilt University
Leon and Julie Payne                2014                  Vanderbilt University
H. Ross Perot Jr. and Sarah         2009, 2013            Vanderbilt University
Fullinwinder Perot
Gary and Cecilia Peters             2013                  Vanderbilt University
William and Margaret Pfeiffer       2012                  Vanderbilt University
Jeanne Phillips                     2015                  Vanderbilt University
Robert and Carroll Pierce           2013                  Vanderbilt University
Reed and Pamela Pigman              2015                  Vanderbilt University
Richard Pinney and Donna Morrell-   2013                  Vanderbilt University
Pinney
Drew and Susan Pinsky               2015                  Vanderbilt University
Octavio and Jody Portu              2015                  Vanderbilt University
John and Elizabeth Puckett          2014                  Vanderbilt University
William and Kellye Pyle             2012                  Vanderbilt University
Douglas and Jan Quartner            2013                  Vanderbilt University
Steven and Janine Racanelli         2016                  Vanderbilt University
Walter and Sue Rackowich            2013                  Vanderbilt University
Ronald and Susan Raskin             2014                  Vanderbilt University
Scott Ratner and Marjorie Van de    2012, 2014            Vanderbilt University
Stouwe
Robert Reed and Susan Siegel        2016                  Vanderbilt University
William and Caroline Reily          2013                  Vanderbilt University
Patrick and Jen Robinson            2013                  Vanderbilt University
Richard and Barbara Robinson        2015                  Vanderbilt University
Brian and Mary Joe Rogers           2008, 2010            Vanderbilt University
James and Megan Rose                2014                  Vanderbilt University
Lawrence and Alison Rosenthal       2011                  Vanderbilt University
Bruce and Tina Ross                 2010, 2012            Vanderbilt University
Felice and Melissa Rovelli          2016                  Vanderbilt University
Richard and Amy Ruben               2012                  Vanderbilt University

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Parent Name(s)                     Child(ren)’s Class     Defendant University
                                   Year(s)
Mark and Jennifer Rubin            2014, 2016             Vanderbilt University
Steven and Angie Sall              2014                   Vanderbilt University
Nathan and Karen Sandler           2015                   Vanderbilt University
Jesse and Frances Sasser           2013                   Vanderbilt University
Russell and Jolyn Scheirman        2014                   Vanderbilt University
Gene and Sara Schindler            2014                   Vanderbilt University
Edwin and Maureen Schloss          2013                   Vanderbilt University
Steven and Roberta Schulman        2011, 2014, 2015       Vanderbilt University
Joseph and Jay Scoby               2015                   Vanderbilt University
Neil and Michele Semel             2013                   Vanderbilt University
Samuel and Karen Seymour           2015                   Vanderbilt University
Henry Shaub and Jacqueline Sidi-   2007, 2010, 2014       Vanderbilt University
Shaub
John and Christine Shippee         2015                   Vanderbilt University
Kenneth and Carol Simon            2014                   Vanderbilt University
Lisa Thompson Smith                2013                   Vanderbilt University
Scott and Tammy Smith              2016                   Vanderbilt University
Richard and Catharine Snowdon      2014                   Vanderbilt University
Charles and Mary Soderstrom        2015                   Vanderbilt University
Jeffrey and Allison Spencer        2016                   Vanderbilt University
Adam Steiger                       2014                   Vanderbilt University
Gary and Tracy Stein               2014                   Vanderbilt University
Stuart and Lisa Sternberg          2013                   Vanderbilt University
Richard and Kay Straky             2014                   Vanderbilt University
Keith and Cathleen Stock           2015                   Vanderbilt University
Lawrence and Lauren Talve          2013                   Vanderbilt University
Paul and Kimberly Tanico           2015                   Vanderbilt University
Jack and Georgia Tauscher          2013, 2013             Vanderbilt University
John and Eileen Thornton           2013                   Vanderbilt University
Carter and Laurie Todd             2009, 2010, 2012       Vanderbilt University
Steven Tomares                     2013, 2015             Vanderbilt University
Trip and Kisha Trezevant           2013                   Vanderbilt University
Byron and Tina Trott               2014                   Vanderbilt University
Michael and Claire Van             2015, 2016             Vanderbilt University
Konynenburg
Maria Vecchiotti                   2015                   Vanderbilt University
Sergio and Alice Viroslav          2015                   Vanderbilt University
Gregory and Susan Voetsch          2016                   Vanderbilt University
George Vuturo and Dorothy Wade-    2013                   Vanderbilt University
Vuturo
Alan and Beth Waldenberg           2014                   Vanderbilt University
David and Nancy Waldenberg         2015                   Vanderbilt University
Jeffrey and Tara Walker            2015                   Vanderbilt University

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Parent Name(s)                       Child(ren)’s Class        Defendant University
                                     Year(s)
Allen and Jennifer Weaver            2013                      Vanderbilt University
Michael and Elizabeth Webb           2016                      Vanderbilt University
Giffen and CiCi Weinmann             2011, 2013, 2015          Vanderbilt University
Edward Weisiger, Jr.                 2012                      Vanderbilt University
Eric and Nancy White                 2016                      Vanderbilt University
Mark Wilf                            2024                      Vanderbilt University
Richard Williams and Janet Lavine    2014                      Vanderbilt University
Wendell and Carlotta Willkie         2011, 2013                Vanderbilt University
Jon and Abby Winkelried              2012, 2015                Vanderbilt University
Elizabeth Wright                     2016                      Vanderbilt University
Scott Wulfe                          2014,                     Vanderbilt University
Evan and Adina Zeppos                2014                      Vanderbilt University
Kent and Amanda Adams                2015, 2020, 2020          Yale University
Jim and Susannah Adelson             2020                      Yale University
Runa Alam and Ted Nist               2023, 2024                Yale University
Iosif and Liubov Bakaleynik          2024                      Yale University
Vladimir and Olga Balaeskoul         2020, 2020                Yale University
Laura and Vincent Barletta           2025                      Yale University
Boris and Constance Baroudel         2023                      Yale University
Scott and Cheri Beck                 2020                      Yale University
Jeffrey and Janice Beckmen           2023, 2024                Yale University
David Belluck                        2021                      Yale University
Peter Bensinger and Heidi Wagman     2017 (also a YLS grad),   Yale University
                                     2020, 2022
James Better and Nancy Marx Better   2017, 2019                Yale University
Christopher Bogart and Elizabeth     2022                      Yale University
O’Connell
Peter Bokor and Jeanne Blaustein     2021                      Yale University
Leonard and Emily Blavatnik          2023, 2024                Yale University
Michel Brogard and Josyann Abisaab   2020                      Yale University
Sean and Elizabeth Carney            2021, 2022                Yale University
Natarajan and Lalitha                2020                      Yale University
Chandrasekaran
Pedro Chomnalez and Maria Herrera    2017, 2023, 2025          Yale University
Samuel Chu and Pauline Lo            2023, 2024                Yale University
Tomas and Lourdes Maria Chuidian     2022                      Yale University
Douglas and Melissa Cifu             2023, 2024                Yale University
Franklin Collins IV and Tracy        2022, 2023                Yale University
Collins
Brahm Cramer and Dana Zucker         2022, 2025                Yale University
J. Hamilton Crawford III             2019                      Yale University
Edwin and Carrie del Hierro          2023, 2024                Yale University
Elizabeth and Lucas Detor            2024                      Yale University

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Parent Name(s)                       Child(ren)’s Class   Defendant University
                                     Year(s)
George and Jan DeVries III           2018                 Yale University
Jeffrey Drubner and Sophie Sutton    2021                 Yale University
William Elkus                        2018                 Yale University
Okechukwu and Funlola Enelamah       2023                 Yale University
Steve Fallek and Susan Saltzstein    2023, 2024           Yale University
Yan Jin and Fan                      2020                 Yale University
Donald and Bridget Fawcett           2022, 2023           Yale University
John and Carol Finley                2020, 2022           Yale University
David and Victoria Foley             2022                 Yale University
Raja and Kathryn Quadraccis Flores   2023                 Yale University
Egene and Maria Frantz               2022                 Yale University
David and E-Len Fu                   2020, 2023, 2025     Yale University
Magomed Galaev and Anna Zelkina      2019                 Yale University
Daniel and Diane Gainey              2023                 Yale University
Jonathan and Amy Gallen              2022, 2023           Yale University
Mark Garber                          2019                 Yale University
Juan and Alejandra Garcia            2022                 Yale University
David and Charlene Geffen            2019                 Yale University
Paul Ginsburg and Nicole Felton      2018                 Yale University
Bruce Goldsmith                      2018                 Yale University
Elizabeth Goodyear                   2016, 2019           Yale University
Klaus and Catalina Grau              2022, 2025           Yale University
Jonathan and Mindy Gray              2021, 2023, 2024     Yale University
Lawrence Greenberg                   2020, 2022           Yale University
Scott Greenberg                      2020, 2022           Yale University
Harold and Robbin Gross              2022                 Yale University
Carlos and Anna Guanche              2020                 Yale University
Kenneth and Susan Hahn               2020                 Yale University
Kevin and Michele Harrington         2018                 Yale University
Bernd Haubold and Catalina Sanz de   2019                 Yale University
Santamaria
David Helfand and Leslie Bluhm       2020                 Yale University
Gerald Hirsch and Barbara Simon-     2024                 Yale University
Hirsch
Mark Hoplamazian and Rachel          2020                 Yale University
Kohler
Ricardo Hornos and Lisa Kohl         2022, 2023           Yale University
Alessandro Horta                     2023                 Yale University
Wei Hu and Jingfan Zhang             2024                 Yale University
Paul Huffard                         2018                 Yale University
Ellen Iseman                         2020                 Yale University
Robert and Amy Isom                  2022                 Yale University
Benjamin and Meredith Jenkins        2023, 2024           Yale University

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Parent Name(s)                        Child(ren)’s Class   Defendant University
                                      Year(s)
Naveen and Shallu Jindal              2018, 2021           Yale University
Charles Johnson                       2023, 2024           Yale University
Elizabeth Johnson                     2021, 2022           Yale University
Gregory Johnson                       2016, 2018           Yale University
Rhonda Kaufman and Lisa Shalett       2023                 Yale University
Ajay and Mala Kalsi                   2018, 2023           Yale University
John Kern Jr. and Katie Kern          2022, 2023           Yale University
Rob Ketterson                         2021, 2022           Yale University
Shiv and Urvashi Rana Khemka          2020                 Yale University
Victor and Gail Khosla                2021, 2023           Yale University
Lynn and Thomas King                  2024                 Yale University
Julius Kipngetich and Chemutai        2024                 Yale University
Murgor
Allan and Kate Latts                  2023                 Yale University
Kenneth Leet                          2018                 Yale University
Pablo and Almudena Legoretta          2023, 2024           Yale University
Matthew and Brenda Levatich           2017, 2020           Yale University
Yanxiu and Yingbo Li                  2023                 Yale University
Jeffrey Lipsitz and Allison Koffman   2019                 Yale University
Anurag and Shweta Mahesh              2024                 Yale University
Vikram Malhotra and Parveen Samra     2020, 2022           Yale University
John Marren                           2019                 Yale University
Craig and Laura Martin                2021                 Yale University
Strive and Tsitsi Masiyiwa            2020                 Yale University
Christopher McGowan and Sandy         2023, 2024           Yale University
Wang
Colin and Anne McNay                  2018, 2020, 2022     Yale University
Prakash and Anjali Melwani            2016, 2023           Yale University
Anupama and Manoj Menda               2024                 Yale University
Lorne and Alice Michaels              2020                 Yale University
Brian and Giovanna Miller             2022, 2023           Yale University
Marc and Lori Miller                  2023                 Yale University
Steve and Laurel Miranda              2022                 Yale University
Neeraj and Renu Mital                 2021, 2025           Yale University
Michael and Joan Mollerus             2021                 Yale University
William Morneau and Nancy McCain      2021                 Yale University
Kenneth and Julie Moore               2025                 Yale University
James and Sheila Mossman              2019                 Yale University
Allan and Nicole Mutchnik             2020, 2022           Yale University
Robert Nam and Yuna Lee               2023                 Yale University
Lanham and Dacia Napier               2021, 2023           Yale University
Ray and Pamela Ng                     2018                 Yale University
Sandra O’Connor                       2018                 Yale University

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Parent Name(s)                    Child(ren)’s Class       Defendant University
                                  Year(s)
Klaus and Sanne Oestergaard       2022, 2025               Yale University
Georgeo Papamarkakis and Dina     2021, 2024, 2025         Yale University
Letrou
Salil and Shaleen Parekh          2023, 2024               Yale University
Sanjay Parthasarathy and Malini   2020                     Yale University
Balakrishnan
David Pesikoff and Nicole         2021, 2023               Yale University
Longnecker
Clemente Pinedo                   2020                     Yale University
Karen Pritzker                    2021                     Yale University
Stephen Quazzo                    2019                     Yale University
Roger Rankin                      2018                     Yale University
Farzad Rastegar                   2016, 2018               Yale University
Thomas and Susan Reinhart         2019, 2020               Yale University
Tom and Susan Reinhart            2020                     Yale University
Xavier and Nicole Rolet           2023                     Yale University
Pierpaolo Rossi and Linda Kung-   2021, 2024               Yale University
Rossi
Andrew and Barbara Rothschild     2024                     Yale University
Kenneth Rotman and Amy Kaiser     2023, 2024               Yale University
Jean and Melanie Salata           2023                     Yale University
Michael and Amanda Salzhauer      2022, 2023               Yale University
Eric and Margaret Scheyer         2020                     Yale University
Andreas and Sandra Schlaepfer     2023                     Yale University
Joseph Schull and Anna Yang       2021                     Yale University
Dwight Scott                      2019                     Yale University
David Shapiro and Abby Pogrebin   2021                     Yale University
Michael and Amanda Salzhauer      2022                     Yale University
Eric and Margaret Scheyer         2020                     Yale University
Joseph Schull and Anna Yang       2021, 2022               Yale University
Nelson and Marianna Sendas        2023, 2025               Yale University
Ira and Bonnie Siegel             2015, 2023               Yale University
Sriram Sivaram and Priya Sriram   2022, 2023, 2025         Yale University
Richard and Deborah Smilow        2017, 2018               Yale University
David and Karen Sobotka           2019                     Yale University
Jonathan Sokoloff                 2011, 2013, 2016, 2019   Yale University
Claire Solot                      2020                     Yale University
Joan Solotar                      2020                     Yale University
Peter Soros                       2009, 2020               Yale University
Lawrence Spera and Mieko          2020                     Yale University
Willoughby
Robert and Emily Spinna           2023                     Yale University


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Parent Name(s)                     Child(ren)’s Class       Defendant University
                                   Year(s)
Joshua Steiner and Antoinette      2021                     Yale University
Delruelle
J. Daniel Swift and Julie Kohn     2019, 2021               Yale University
Gene and Tracy Sykes               2023, 2024               Yale University
Andrew Tisdale                     2018                     Yale University
James and Melissa Triedman         2025                     Yale University
Willard and Anne Umphrey           2021, 2022               Yale University
Bennet Van de Bunt and Laura Fox   2021                     Yale University
Peter and Elizabeth Vanderslice    2021                     Yale University
David and Sandra Visher            2014, 2016, 2018, 2022   Yale University
Bryan and Carolina Vroon           2023, 2024               Yale University
Chaoyong Wang and Yifei Li         2015, 2016, 2023, 2024   Yale University
Edward and Lisandrea Weaver        2023                     Yale University
Scott and Virginia Weisman         2020                     Yale University
Brian Yoon and Mi-Hyung Kim        2021, 2023               Yale University
David Young and Amy Zhou           2016, 2018               Yale University
Alan and Judy Zafran               2019                     Yale University
Ron Zeff                           2018                     Yale University




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                                CERTIFICATE OF SERVICE
        I, Hope Brinn, an attorney, hereby certify that on September 19, 2022, I caused a true and
correct copy of the foregoing PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION
to be served electronically by emailing it to the following counsel of record for Defendants:


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